          Case 5:21-cv-01041-JKP Document 1-1 Filed 10/26/21 Page 1 of 81




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION

JAMIE MARROQUIN, Individually and                 §
as Next Friend of Minor children, J.M.M.          §
and J.M.,                                         §
Plaintiffs,                                       §
                                                  §
V.                                                §         5:21-CV-01041
                                                  §
NORTHSIDE INDEPENDENT                             §
SCHOOL DISTRICT, ET AL,                           §
Defendants.                                       §

                               INDEX OF MATTERS BEING FILED

     1. 285th District Court Case Summary / Case No. 2021-CI-21250             Exhibit 1

     2. Plaintiffs’ Original Petition for Declaratory Judgment, Application
        for temporary Restraining Order, and Application for Temporary
        and Permanent Injunction (10/06/21)                                    Exhibit 2

     3. Motion to Substitute Counsel (10/13/21)                                Exhibit 3

     4. Order Granting Plaintiffs’ Motion to Substitute Counsel (10/13/21)     Exhibit 4

     5. Plaintiffs’ Amended Original Petition for Application for
        Temporary Restraining Order and Temporary and Permanent
        Injunction and Declaratory Judgment (10/13/21)                         Exhibit 5

     6. Proposed Temporary Restraining Order (10/14/21)                        Exhibit 6

     7. Order Granting Plaintiffs’ Motion to Substitute Counsel (10/14/21)     Exhibit 7

     8. Order Setting Hearing on Temporary Injunction (executed on 10/14/21)   Exhibit 8

     9. Judge’s Notes (10/14/21)                                               Exhibit 9

     10. Order Denying Temporary Restraining Order (executed on 10/15/21)      Exhibit 10

     11. Request for Process (10/18/21)                                        Exhibit 11

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                EXHIBIT 1
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                                                           285th District Court



                                                           Case Summary


                                                          Case No, 2021C121250




Jamie Nicole Marroquin VS Northside Independent                      §                      Location;    285th District Court

School District ET AL                                                §               Judicial Officer:   285th, District Court

                                                                     §                      Filed on:    10/06/2021




                                                           Case Information



                                                                                               Case Type:    OTHER CIVIL CASES

                                                                                              Case Status:   10/06/2021    Pending


                                                        Assignment Information



             Current Case Assignment

             Case Number        2021C121250

             Court              285th District Court

             Date Assigned      10/06/2021

             Judicial Officer   285th, District Court




                                                           Party Information




                                                               Lead Attorneys


Plaintiff     Marroquin, Jamie Nicole                          CANSECO, FRANCISCO R

                                                               Retained



              Marroquin, Jamie                                 CANSECOCO, FRANCISCO R

                                                               Retained




Defendant     Northside Independent School District



              Woods, Bryan T.




                                                   Events and Orders of the Court



10/06/2021     New Cases Filed (OCA)


10/06/2021     PETITION


10/13/2021     MOTION TO SUBSTITUTE ATTORNEY


10/13/2021     PROPOSED ORDER

                  GRANTING MOTION TO SUBSTITUTE ATTORNEY


10/13/2021


AMENDED PETITION

 FOR APPLICATION FOR TEMPORARY RESTRAINING ORDER AND TEMPORARY AND PERMANENT INJUNCTIONS AND

 DECLARATORY JUDGMENT


10/14/2021     PROPOSED ORDER


10/14/2021     TEMPORARY RESTRAINING ORDER (OCA)                  (Judicial Officer: ALVAREZ, MARY LOU)


10/14/2021

ORDER TO SUBSTITUTE             (Judicial Officer: ALVAREZ, MARY LOU)

 ATTORNEY FRANCISCO CANSECO IN PLACE OF CESAR MONTALVOIS AS COUNSEL OF RECORD FOR JAMIE MARROQUIN


10/15/2021     HEARING/TRIAL CRT REPORTER ASSIGNED

                  FROM 10/14/21-LINDA HERNANDEZ



                                                               PAGE 1 OF 2                                Printed on 10/25/2021 at 2:48 PM
                Case 5:21-cv-01041-JKP Document 1-1 Filed 10/26/21 Page 4 of 81
                                                     285th District Court



                                                      Case Summary


                                                     Case N0, 2021C121250

10/15/2021   JUDGES DOCKET NOTES          (Judicial Officer: ALVAREZ, MARY LOU)

               FROM 10/14/21


10/15/2021   TEMPORARY RESTRAINING ORDER (OCA)              (Judicial Officer: ALVAREZ, MARY LOU)


10/18/2021   REQUEST FOR SERVICE AND PROCESS


10/18/2021   Citation

             Northside Independent School District

             Unserved


10/18/2021   Notice

             Northside Independent School District

             Unserved


10/28/2021   SETTING ON TEMPORARY INJUNCTION                (9:00 AM)


10/28/2021   SETTING ON TEMPORARY INJUNCTION                (9:00 AM)




                                                         PAGE 2 OF 2                            Printed on   10/25/2021   at 2:48 PM
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                EXHIBIT 2
                         Case 5:21-cv-01041-JKP Document 1-1 Filed 10/26/21 Page 6 of 81
FILED

10/6/2021 4 : 1 4 PM

Mary Angie Garcia

Bexar County District Clerk

Accepted By: Maria Jackson




                NOTICE:        THIS DOCUMENT CONTAINS SENSITIVE DATA.



                                                          NO.        2021 C l 2 1 2 5 0


                JAMIE MARROQUIN,                                        §   IN THE DISTRICT COURT

                INDIVIDUALLY              AND AS   NEXT                 $

                FRIEND        OF MINOR C H I L D R E N   J.M.M          §

                AND     J.M.                                            $
                                                                        $       Bexar County - 285th District Court
                PLAINTIFFS,


                                                                        $

                V.                                                      $   JUDICIAL

                                                                        §   DISTRICT

                                                                        $

                NORTHSIDE INDEPENDENT                                   $

                S C H O O L DISTRICT ET AL.                             $

                DEFENDANTS.                                             $   OF BEXAR COUNTY, TEXAS



                              ORIGINAL PETITION FOR DECLARATORY JUDGMENT,

                        APPLICATION FOR TEMPORARY RESTRAINING ORDER, AND

                       APPLICATION FOR TEMPORARY AND PERMAMANT INJUNCTION



                TO THE HONORABLE JUDGE OF SAID COURT:



                         NOW COMES Jamie Marroquin, Individually and next of friend for J.M.M. and J.M,



                Plaintiff herein, filing this "Original Petition for Declaratory Judgment, Application for Temporary



                Restraining Order, and Application for Temporary and Permanent Injunction", pursuant to the



                Texas Uniform Declaratory Judgments Act, Chapter 37 of the Texas Civil Practice and Remedies




                Code, against Northside Independent School District, (herein after referred as "NISD") and Dr.



                Brian T.      Woods   (herein after referred    as   "Woods")   seeking to enjoin the Defendants      from




                enforcing their illegal mask mandates in the district and further prohibiting persons from entry on




                school grounds when they refuse to comply, in direct violation of Gov. Abbott's Exec. Order GA-



                38. Plaintiffs would show the Court the following:




                                          I.   DISCOVERY CONTROL PLAN LEVEL


                                                                                                                         1

                ORIGINAL           PETITION      FOR      DECLARATORY            JUDGMENT,           APPLICATION      FOR


                TEMPORARY           RESTRAINING          ORDER,       AND   APPLICATION         FOR     TEMPORARY     AND


                PERMANENT INJUNCTION
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        1.      Plaintiff intends that discovery be conducted under Discovery Level 3.



                                   II.   PARTIES AND SERVICE



        2.1     Plaintiff, Jamie Nicole Marroquin brings this action individually and as next of



friend to her two minor children, J.M.M. and J.M., who are also students that attend NISD.



Plaintiff and children reside in Bexar County, Texas.



        2.2     Defendant NISD, may be served with process by serving its superintendent, Dr.



Brian T. Woods. He may be served at the following address: 5900 Evers Road, San Antonio TX



78238 or wherever may be found.



        2.3     Defendant Dr. Brian T. Woods is sued in his official capacity as superintendent of



NISD and may be served with process at his place of employment at the following address:         5900



Evers Road, San Antonio, TX 78238, or wherever may be found.



                            I II .   J U R I S D I C T I O N AND VENUE



        3.1     The subject matter in controversy is within the jurisdictional limits of this court.



        3.2     Plaintiff seeks:



                a.      monetary relief of $250,000 or less and non-monetary relief.



        3.3     This court has jurisdiction over the parties because Defendants are Texas residents.



        3.4     Venue in Bexar County is proper in this cause under Section 15.002(a)(1) of the



Texas Civil Practice and Remedies Code because all or a substantial part of the events or omissions



giving rise to this lawsuit occurred in this county.



                                             IV.    FACTS



        4.1     Northside Independent School District is a public school district serving students




                                                                                                       2


ORIGINAL       PETITION         FOR       DECLARATORY       JUDGMENT,        APPLICATION         FOR


TEMPORARY        RESTRAINING             ORDER,    AND   APPLICATION     FOR    TEMPORARY        AND

PERMANENT       INJUNCTION
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       primarily in the city of San Antonio, TX and began classes on August 16, 2021.



       4.2     Approximately two weeks before classes started, on July 29", 2021, Governor Greg



       Abbott issued executive order GA-38 which states in pertinent part:



               "No governmental entity, including a county, city, school district, and public health




       authority, and no governmental official may require any person to wear a face covering or



       to mandate that another person wear a face covering [other than hospitals and jails]. Exhibit




       1.



       4.3     GA-38 also specifically superseded any face-covering requirement imposed by any




local government entity or official and made any such action illegal as a "failure to comply with"




GA-38 and made individuals subject to a $100 fine.



       4.4 On August 17, 2021, the District and the Superintendent Woods announced that their




schools will be enforcing a face-covering policy that went into effect on August 23", 2021. To date,




the policy requiring face-coverings is in full effect. NISD has been issuing "Criminal Trespass



Warnings" or CTW to parents that do not comply with the face-covering mandate and prohibit




students from attending classes if they do not comply.



       4.5 NISD has proffered no guidance as to what a satisfactory face-covering will be and does



not permit an exemption based on religion, health, or conscience.




       4.5     On August 24", 2021, the Plaintiff attended an open school board meeting in order



to address   the aforementioned issues with NISD.     She sat in the seat quietly without a face­




covering. When she refused to wear a face-covering and stated that she had a medical exemption,




NISD police physically lifted her with her chair and forcibly removed her from the meeting.




                                                                                                   3

ORIGINAL       PETITION       FOR     DECLARATORY         JUD G MENT,       APPLICATION        FOR


TEMPORARY        RESTRAINING        ORDER,    AND    APPLICATION        FOR   TEMPORARY        AND


PERMANENT INJUNCTION
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       4.6     On September 21, 2021, The Plaintiff received a certified letter from the district



stating that the Plaintiff was prohibited from entering on school grounds which includes open board




meetings, or she will be subject to removal or arrest. Exhibit 2



       4.7     The Plaintiff has requested on multiple occasion to pursue grievance and appeals



procedure through the district channels in order to address the prohibition from school grounds



and alienation of her children. It was not until she had retained counsel and made demand on NISD



that the district offered to assist with the grievance procedure. Exhibit 3 - Unsworn Declaration.



                                     V.    RELIEF REQUESTED



       Incorporation of the Mandamus Relief        Sought by Gov, Abbott,



        5.1     Gov. Abbott has filed a Petition for Writ of Mandamus filed in the Fifth District



Court of Appeals. Styled In Re: Greg Abbott, Cause No. 05-21-00687-CV, the Petition states that



the Governor's executive orders have the full effect and force of law, and local authorities do not



have the legal authority to countermand Governor Abbott's command. Local authorities are part



of the Texas Governor's disaster team and are not free to go wilding with their own peculiar




political peccadilloes and create their own laws.



Incorporation of The Texas Supreme Court Order Cause 21-0720 GregAbbott, in his official

capacity as Goernor of Texas
  f   f
                               p.   City ofSan Antonio and County ofBexar.




        5.2    The Supreme Court of Texas has stated that the status quo to date is for the



Governor to preempt state and local government:



" . . . Rather, these cases ask courts to determine which government officials have the legal

authority to decide what the government's position on such questions will be. The status quo, for

many months, has been gubernatorial oversight of such decisions at both the state and local

levels. That status quo should remain in place while the court of appeals, and potentially this


                                                                                                      4

ORIGINAL       PETITION         FOR        DECLARATORY       JUDGMENT,        APPLICATION         FOR


TEMPORARY        RESTRAINING              ORDER,   AND   APPLICATION        FOR   TEMPORARY       AND


PERMANENT I N J U N C T I O N
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Court, examine the parties' merits arguments to determine whether plaintiffs have demonstrated

a probable right to the relief sought. Exhibit 4.




                           VI.   CAUSE OF ACTION - DECLARATORY JUDGEMENT




        6.1        There    exists   a   genuine   controversy   between   the   parties   herein that   would   be



terminated by the granting of declaratory judgment.              Plaintiff therefore requests that declaratory



judgment be entered as follows:



        A.         That NISD's mask mandate is in direct violation of Governor's Executive Order



GA-38 and GA-38 preempts NISD mask policy.



        B.         The Plaintiff and her children are permitted to attend their school without being



forced to wear a face covering against the NISD's mask mandate currently in place.



         VII.   CAUSE OF ACTION II - VIOLATION OF THE TEXAS OPEN MEETINGS




                                                        ACT




        7.1        Open meetings of government entities that exclude any person violate the Texas



Open Meetings Act, found at sec. 5 5 1. 0 0 2 of the Texas Government Code, which stipulates that



"[e]very regular. special, or called meeting ofa gov'l body shall be open to the public..".



        The Defendants unilaterally created their own law by mandating face- covering in



violation of GA-38. Then, the Defendants enforced their illegal law against the Plaintiff to



violate the Texas Open Meetings Act.



                    VIII.    APPLICATION FOR TEMPORARY RESTRAINING ORDER




        8.1        Conditions Precedent.           All conditions precedent have been performed or have




occurred.




                                                                                                                  5

ORIGINAL           PETITION          FOR      DECLARATORY           JUDGMENT,              APPLICATION       FOR


TEMPORARY           RESTRAINING             ORDER,     AND    APPLICATION          FOR      TEMPORARY        AND


P E R M A N E NT   INJUNCTION
       Case 5:21-cv-01041-JKP Document 1-1 Filed 10/26/21 Page 11 of 81




       8.2     Plaintiff requests a temporary restraining order (TRO"), to protect the status




quo, by preventing Defendants from enforcing their prohibition against non-mask wearing




students entering school until the Court issues a temporary injunction, or the case can be




adjudicated.




        8.3    The comparative injury, or balance of equities and hardships, to the parties and to




the public interest, support granting a temporary restraining order; Plaintiff is only asking the




Court to preserve the status quo, and require the Defendants cease from enforcing their




prohibition, which is damaging Plaintiff's constitutional rights to a public education.




        8.4    There is no adequate remedy at law that will give Defendants full relief, because




Defendants' actions are illegal, and Plaintiffs suffer from diminished value of their education.




Each day, the Plaintiff suffers significant irreparable damage to due process oflaw and education.




Plaintiffs' total damages cannot be measured with certainty, and it is neither equitable, nor




conscionable, to allow Defendants to violate state law.




        8.5     The loss of constitutional freedoms for, "even minimal periods of time,




unquestionably constitutes irreparable injury." Elrod v. Burns, 427 U.S. 347, 373 (1976). This is




no less true for statutory-based freedoms, such as the right to a free and appropriate public




education.




        8.6     The harm to the Plaintiff, if this TRO is denied, will be significant and




irreparable. If this Court allows NISD to continue their illegal acts, Plaintiff's children face a




                                                                                                       6


ORIGINAL       PETITION        FOR     DECLARATORY          JUD G MENT ,      APPLICATION            FOR


TEMPORARY        RESTRAINING         ORDER,     AND    APPLICATION        FOR   TEMPORARY            AND


PERMANENT INJUNCTION
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diminished educational experience and their parents will continue to be excluded from their




children's educational growth.




        8.7      The Plaintiffs are entitled to a TRO, because Defendants can show no harm to the




ISD, in granting the relief requested. Defendants violated the legal process and the Texas Open



Meetings Act. Enjoining an already illegal, and unconstitutional policy does not cause harm to




the Defendants.




        8.9      Therefore, Plaintiff respectfully requests that this Court issue a temporary




restraining order against the Defendants - restraining them, their agents,




representatives, employees, or anyone acting on their behalf, including teachers     ­




until further order of the Court; and from taking any actions to enforce the mask




policy, or any iteration thereof against Plaintiffs, including but not limited to, permitting Plaintiffs




access to school without a mask.




        8.10     Length of TR 0. Plaintiff requests that the TRO last for fourteen days from the




issue date of the order.




        8.11     Bond. Because Plaintiff seeks a TRO, it must post a bond. As Defendants are state



actors which will suffer no damage, Plaintiffs request bond be set at $10.00.




               IX.   APPLICATION FOR TEMPORARY AND                PERMANENT INJUNCTION




                                                                                                       7


ORIGINAL         PETITION      FOR     DECLARATORY           JUDGMENT,         APPLICATION         FOR


TEMPORARY            RESTRAINING     ORDER,     AND    APPLICATION        FOR    TEMPORARY         AND


PERMANENT        INJUNCTION
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        9.1       Plaintiff will suffer immediate and irreparable injury, loss, or damage if



Defendants' conduct described above is not enjoined for these reasons: Plaintiff's children will




continue to suffer a lackluster education filled with anxiety and undue stress. Plaintiff will suffer




continued alienation from her children and continued loss of consortium.



        9 .2      There is no adequate remedy at law that will give Plaintiffs full relief, because




denial of an unmasked education should be addressed immediately.




        9.3       The comparative injury, or balance of equities and hardships, to the parties and to




the public interest, support granting injunctive relief; the Plaintiff is only asking the Court to



preserve the status quo, and require Defendants to cease unlawfully infringing upon Plaintiff's



constitutional rights - with a temporary, and then permanent injunction. Plaintiffs seek to enjoin




the Defendants from preventing the Plaintiffs from attending school functions and activities,



issuing any warnings to prevent the Plaintiffs from attending school functions and activities; or




any iteration of these acts.



                                        X.   ATTORNEY'S F E E S



        10.1      Pursuant to Section 37.009 of the Texas Civil Practice and Remedies Code, request




is made for all costs and reasonable and necessary attorney's fees incurred by Plaintiff herein,



including all fees necessary in the event of an appeal of this cause to the Court of Appeals and the




Supreme Court of Texas, as the Court deems equitable and just.



                                      XI.    JURY TRIAL DEMAND




               71. Plaintiffs herewith tender a jury fee and respectfully request a jury trial.


                                                                                                        8


ORIGINAL          PETITION        FOR        DECLARATORY        JUDGMENT,         APPLICATION         FOR

TEMPORARY           RESTRAINING         ORDER,     AND    APPLICATION        FOR    TEMPORARY         AND

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                                                          PRAYER



       WHEREFORE, PREMISES CONSIDERED, Plaintiff prays that Defendants be cited to



appear and answer herein,            and that         on final trial     hereof declaratory judgment be            granted as



requested herein, and GA-38 also specifically superseded any face-covering requirement imposed



by any local government entity or official and made any such action illegal as a "failure to comply



with" GA-38 and make individuals subject to a $100 fine.



       Plaintiff prays that-



                 a.          without notice to Defendants or Third-Party Defendant, the Court issue a



temporary restraining order restraining Defendants, Third-Party Defendant, and their officers,



agents, servants, and employees from directly or indirectly forcing the Plaintiffs to wear masks,



prevent the plaintiffs       from attending school functions and                    activities, issuing any warnings             to



prevent the plaintiffs from attending school functions and activities;



                 b.          the   Court       set    a date   and   time   for   a hearing     on   this   application    for    a



temporary injunction;



                 c.          Defendants be cited to appear and answer;



                 d.          after hearing, the Court issue a temporary injunction enjoining Defendants,



Third-Party Defendant,             and   their   officers,     agents,    servants,     and   employees     from   directly      or



indirectly   forcing   the    Plaintiffs    to       wear masks,     prevent      the   plaintiffs   from   attending     school



functions    and activities, issuing any warnings to                   prevent the plaintiffs        from attending school



functions and activities during the pendency of this action;



        Plaintiff be granted reasonable expenses incurred in obtaining the restraining order and




                                                                                                                                 9


ORIGINAL         PETITION                FOR         DECLARATORY             JUDGMENT,               APPLICATION           FOR


TEMPORARY             RESTRAINING              ORDER,          AND     APPLICATION             FOR    TEMPORARY            AND


PERMANENT INJUNCTION
       Case 5:21-cv-01041-JKP Document 1-1 Filed 10/26/21 Page 15 of 81




injunction; and



       Plaintiff be granted all further relief to which Plaintiff may be entitled.




                                               Respectfully submitted,




                                                                  Tr Lw Orn1rs Dr


                                                CM                CESAR A. MONTALVO, PLLE



                                               THE LAW OFFICES OF CESAR             A. MONTALVO PLLC




                                               By:

                                                      Is/   Cesar A. Montalvo

                                                      Texas Bar No. 24102868

                                                      Email:   information@camlaw.legal

                                                      1175 W. Bitters Rd.

                                                      Ste. 1106

                                                      San Antonio, TX 78216

                                                      Tel. (210) 296-5605

                                                      Fax. (210) 941-0777

                                                      Attorney for Plaintiff

                                                      Jamie Marroquin, Individually and as next of

                                                      friend toJ.M.M. and J.M.




                                                                                                   10
----------------------,-------------
ORIGINAL          PETITION     FOR     DECLARATORY             JUDGMENT,        APPLICATION      FOR


TEMPORARY          RESTRAINING       ORDER,     AND    APPLICATION          FOR     TEMPORARY    AND


PERMANENT INJUNCTION
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                                     G O V E R N O R      G R E G     A B B O T T




July 29, 2021
                                                                      FILED IN THE OFFICE OF THE

                                                                          SECRETARY OF STATE

                                                                            3 : 1 ?6 c L o c K




Mr. Joe A. Esparza

Deputy Secretary of State

State Capitol Room I E.8

Austin, Texas   78701



Dear Deputy Secretary Esparza:



Pursuant to his powers as Governor of the State of Texas, Greg Abbott has issued the following:



        Executive Order No. GA-38 relating to the continued response to the C O V I D - 1 9

       disaster.



The original executive order is attached to this letter of transmittal.




                VI
                     so

Attachment




             POST OFF1CE BOX   12428 AUSTIN, TEXAS 78711 512-463-2000 (VOICE) DIAL 7-1-1 FOR RELAY SER VICES
Case 5:21-cv-01041-JKP Document 1-1 Filed 10/26/21 Page 17 of 81




                              Zxecntie (rbr
                                                           BY THE

                                    GOVERNOR OF THE STATE OF TEXAS



                                                 Executive Department

                                                        Austin, Texas

                                                        July 29, 2021




                                                 EXECUTIVE ORDER

                                                            GA 38



                     Relating to the continued response to the COVID-19 disaster,




    WHEREAS, I, Greg Abbott, Governor of Texas, issued a disaster proclamation on March

     1 3 , 2020, certifying under Section 4 1 8 . 0 1 4 of the Texas Government Code that the

     novel coronavirus (COVID-19) poses an imminent threat of disaster for all Texas

    counties; and



    WHEREAS, in each subsequent month effective through today, I have renewed the

    COVID-19 disaster declaration for all Texas counties; and


    WHEREAS, from March 2020 through May 2021, I issued a series of executive orders

     aimed at protecting the health and safety of Texans, ensuring uniformity throughout

    Texas, and achieving the least restrictive means of combatting the evolving threat to

     public health by adjusting social distancing and other mitigation strategies; and



    WHEREAS, combining into one executive order the requirements of several existing

    COVID-I9 executive orders will further promote statewide uniformity and certainty;

    and


    WHEREAS, as the COVID-19 pandemic continues, Texans arc strongly encouraged as a

    matter of personal responsibility to consistently follow good hygiene, social-distancing,

     and other mitigation practices; and



    WHEREAS, receiving a COVID-I9 vaccine under an cmcrgency use authorization is

    always voluntary in Texas and will never be mandated by the government, but                                            it   is

    strongly encouraged for those eligible to receive one; and



    WHEREAS, state and local officials should continue to use every reasonable means to

     make the COVID-I9 vaccine available for any eligible person who chooses to receive

     one; and



    WHEREAS, in the Texas Disaster Act of 1975, the legislature charged thc governor with

     the responsibility "for meeting . . . the dangers to the state and people presented by

     disasters" under Section 4 1 8. 0 1 1           of the Texas Government Code, and expressly granted

     the governor broad authority to fulfill that responsibility; and



    WHEREAS, under Section 4 1 8 . 0 1 2 , the             "governor         may   issue executive        orders.




     hav[ing] the force and          effect   of law;" and



    WHEREAS,         under     Section     418.016(a),     the   "governor      may   suspend       the   provisions            of any




     regulatory     statute   prescribing     the procedures          for   conduct   of   state   business   . . .   if   strict



     compliance      with     the   provisions   ...   would     in   any   way prevent,     hinder,   or   delay      ncccssary




     action   in   coping   with    a   disaster;"   and




    WHEREAS, under             Section     418.018(c), the       "governor      may   control      ingress    and     egress         to

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                                                                                                   SECRETARY OF STATE

                                                                                               311
                                                                                               •  5 0'CLOCK

                                                                                                     JUL 2 9 202l
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  Governor Greg Abbott                                                                      Executive Order GA-38

  July 29, 2021                                                                                                  Page 2




      and from a disaster area and the movement of persons and the occupancy of premises in

      the area;" and



     WHEREAS, under Section 4 1 8 . 1 7 3 , the legislature authorized as "an offense,"

      punishable by a fine up to $1,000, any "failure to comply with the [statc emergency

      management plan] or with a rule, order, or ordinance adopted under the plan;"



     NOW, THEREFORE,              I,   Greg   Abbott, Governor of Texas,               by   virtue   of the   power and

     authority vested in me by the Constitution and laws of the State of Texas, do hereby order

     the following on a statewide basis effective immediately:




         1.   To ensure the continued availability of timely information about COVID-19 testing

              and    hospital   bed    capacity    that   is   crucial   to efforts   to cope   with   the    €OVID-19

              disaster. the following requirements apply:



              a.    All hospitals licensed under Chapter 241 of the Texas Health and

                    Safety Code, and all Texas state-run hospitals, except for psychiatric

                    hospitals, shall submit to the Texas Department of State Health

                    Services (DSHS) daily reports of hospital bed capacity, in the manner

                    prescribed by DSHS.          DSHS shall promptly share this information

                    witb the Centers for Disease Control and Prevention (CDC)y,

              b.    Every public or private entity that is utilizing an FDA approved test,

                    including an emergency use authorization test, for human diagnostic

                    purposes of COVID-19, shall submit to DSHS, as well as to the local

                    health department, daily reports of all test results, both positive and

                    negative.   DSHS     shall    promptly share this information with the CDC.




         2.   To ensure    that   vaccines continue            to be voluntary for all Texans and         that Texans'

              private COVID-19-related health information continues to                       enjoy   protection against

              compelled disclosure, in addition to new laws enacted by the legislature against so­


              called "vaccine passports," the following requirements apply:




              a.    No governmental entity can compel any individual to receive a

                    COVID-19 vaccine administered under an emergency use

                    authorization.     I hereby suspend Section 8 1 . 0 8 2 ( 0) ( 1 ) of the Texas

                    Health and Safety Code to the extent necessary to ensure that no

                    governmental entity can compel any individual to receive a €OVID-19

                    vaccine administered under an emergeney use authorization.

              b.    Sate agencies and political subdivisions shall not adopt or enforce any

                    order, ordinance, policy, regulation, rule, or similar measure that

                    requires an individual to provide, as a condition of receiving any

                    service or entering any place, documentation regarding the

                    individual's vaccination status for any COVID-19 vaccine

                    administered under an emergency use authorization.                      I hereby suspend

                    Section 81.085() of the Texas Health and Safety Code to the extent

                    necessary to enforce this prohibition.               This paragraph does not apply to

                    any documentation requirements necessary for the administration of a

                    COVID - I 9 vaccine.

              c.    Any public or private entity that is receiving or will receive public

                    funds through any means, including grants, contracts, loans, or other

                    disbursements of taxpayer money, shall not require a consumer to

                    provide, as a condition of receiving any service or entering any place,

                    documentation regarding the consumer's vaccination status for any

                    COVID-19 vaccine administered under an emergency use

                    authorization.     No consumer may be denied entry to a facility financed


                                                                                            FILED IN THE OFFICE OF THE
                                                                                              SECRETARY OF STATE
                                                                                                3:15 9O'CLOCK



                                                                                                 JUL 2 9 2021
Case 5:21-cv-01041-JKP Document 1-1 Filed 10/26/21 Page 19 of 81




  Governor Greg Abbott                                                                Executive Order GA-38

  July 29, 2021                                                                                                 Page 3




                   in whole or in part by public funds for failure to provide

                   documentation regarding the consumer's vaccination status for any

                   COVID-19 vaccine administered under an emergency use

                   authorization.

              d.   Nothing in this executive order shall be construed to limit the ability of

                   a nursing home, state supported living center, assisted living facility,

                   or long-term care facility to require documentation of a resident's

                   vaccination status for any COVID-I9 vaccine.

              e.   This paragraph number 2 shall supersede any conflicting order issued

                   by local officials in response to the COVID-19 disaster.                I hereby

                   suspend Sections 4 1 8 . 1 0 1 5 ( b ) and 4 1 8 . 1 0 8 of the Texas Government

                   Code, Chapter 8 1 , Subchapter E of the Texas Health and Safety Code,

                   and any other relevant statutes, to the extent necessary to ensure that

                   local officials do not impose restrictions in response to the COVID-19

                   disaster that are inconsistent with this executive order.




         3.   To ensure the    ability of Texans    to   preserve livelihoods while protecting lives, the

              following requirements apply:



              a.   There are no COVID-19-related operating limits for any business or

                   other establishment.

              b.   In areas where the C€OVID-19 transmission rate is high, individuals are

                   encouraged to follow the safe practices they have already mastered,

                   such as wearing face coverings over the nose and mouth wherever                    it   is

                   not feasible to maintain six feet of social distancing from another

                   person not in the same household, but no person may be required by

                   any jurisdiction to wcar or to mandate the wearing of a face covering.

              c.   In providing or obtaining services, every person (including individuals,

                   businesses, and other legal entities) is strongly encouraged to use

                   good-faith efforts and available resources to follow the Texas

                   Department of State Health Services (DSHS) health recommendations,

                   found at www.dshs.texas.gov/coronavirus,

              d.   Nursing homes, state supported living centers, assisted living facilities,

                   and long-term care facilities should follow guidance from the Texas

                   Health and Human Services Commission (HHSC) regarding

                   visitations, and should follow infection control policies and practices

                   set forth by HHSC, including minimizing the movement of staff

                   between facilities whenever possible.

              e.   Public schools may operate as provided by, and under the minimum

                   standard health protocols found in, guidance issued by the Texas

                   Education Agency.      Private schools and institutions of higher

                   education arc encouraged to establish similar standards.

              f.   County and municipal jails should follow guidance from the Texas

                   Commission on Jail Standards regarding visitations.

              g.   As stated above, business activities and legal proceedings arc free to

                   proceed without COVID-19-related limitations imposed by local

                   governmental entities or officials.       This paragraph number 3

                   supersedes any conflicting local order in response to the COVID-19

                   disaster, and all relevant laws are suspended to the extent necessary to

                   preclude any such inconsistent        local   orders.   Pursuant   to   the

                   legislature's command in Section 4 1 8 . 1 7 3 of the Texas Government

                   Code and the State's emergency management plan, the imposition of

                   any conflicting or inconsistent limitation by a local governmental

                   entity or official constitutes a "failure to comply with" this executive

                   order that is subject to a fine up to $1,000.

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                                                                                             JUL 2 9 202l
Case 5:21-cv-01041-JKP Document 1-1 Filed 10/26/21 Page 20 of 81




  Governor Greg Abbott                                                              Executive Order GA-38

  July 29, 2021                                                                                        Page4




         4,   To further ensure that no governmental entity can mandate masks, the following

              requirements shall continue to apply:



              .
              a    No governmental entity, including a county, city, school district, and

                   public health authority, and no governmental official may require any

                   person to wcar a face covering or to mandate that another person wear

                   a face covering;    provided, however, that

                   i.     state supported living centers, government-owned hospitals, and

                          government-operated hospitals may continue to use appropriate

                          policies regarding the wearing of face coverings; and

                   ii.    the Texas Department of Criminal Justice, the Texas Juvenile

                          Justice Department, and any county and municipal jails acting

                          consistent with guidance by the Texas Commission on Jail

                          Standards may continue to use appropriate policies regarding the

                          wearing of face coverings.

              b.   This paragraph number 4 shall supersede any face-covering

                   requirement imposed by any local governmental entity or official,

                   except as explicitly provided in subparagraph number 4.a.              To the

                   extent necessary to ensure that local governmental entities or officials

                   do not impose any such face-covering requirements, I hereby suspend

                   the following:




                   i.        Sections 4 1 8. 1 0 1 5 ( b ) and 4 1 8 , 1 0 8 of the Texas Government

                             Code;


                   ii.       Chapter 8 1 , Subchapter E of the Texas Health and Safety

                             Code;


                   iii.      Chapters 1 2 1 ,   122, and 34I of the Texas Health and Safety

                             Code;


                   iv.       Chapter 54 of the Texas Local Government Code; and


                   v.        Any other statute invoked by any local governmental entity or

                             official in support of a face-covering requirement.




                   Pursuant to the legislature's command in Section 4 1 8 . 1 7 3 of the Texas

                   Government Code and the State's emergency management plan, the

                   imposition of any such face-covering requirement by a local

                   governmental entity or official constitutes a "failure to comply with"

                   this executive order that is subject to a fie up to $1,000.

              c.   Even though face coverings cannot be mandated by any governmental

                   entity, that does not prevent individuals from wearing one if they

                   choose.



         5.   To further ensure uniformity statewide:



              a.   This executive order shall supersede any conflicting order issued by

                   local officials in response to the COVID-I9 disaster, but only to the

                   extent that such a local order restricts services allowed by this

                   executive order or allows gatherings restricted by this executive order.

                   Pursuant to Section 418.016(a) of the Texas Government Code, I

                   hereby suspend Sections 4 1 8 . 1 0 1 5 ( b ) and 4 1 8 . 1 0 8 of the Texas

                   Government Code, Chapter 8 1 , Subchapter E of the Texas Health and


                   Safety Code, and any other relevant statutes, to the extent necessary to


                   ensure that   local officials do not impose restrictions in response to the


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Case 5:21-cv-01041-JKP Document 1-1 Filed 10/26/21 Page 21 of 81




 Governor Greg Abbott                                                                        Executive Order GA-38

 July 29, 2021                                                                                                           Page 5




                  COVID-19 disaster that are inconsistent with this executive order,

                  provided that local officials may enforce this executive order as well

                  as local restrictions that are consistent with this executive order.

             b.   Confincmcnt in jail is not an available penalty for violating this

                  executive order.        To the extent any order issued by local officials                   in


                  response    to   the   COV ID-19      disaster would allow confinement                  in jail   as


                  an   available   penalty    for violating a COVID-19-related order,                     that order


                  allowing confinement          in jail   is superseded,     and    I hereby   suspend        all


                  relevant laws to the extent          necessary     to   cnsure   that   local officials do


                  not confine      people   in jail   for violating any executive          order or local


                  order   issued   in    response to    the CO VI D-19 disaster.




    This   executive    order   supersedes     all    pre-existing    COVID        19-related      executive        orders   and


    rescinds them      in their entirety, except that      it does not supersede or rescind Executive Orders

    GA-13    0r GA-37,      This executive       order shall   remain       in   effect and   in   full   force     unless it is

    modified, amended, rescinded, or superseded by the governor,                           This executive order may

    also be amended by proclamation of the governor.




                                                              Given under my hand this the 29th

                                                              day of July, 2021.




                                                              GREG ABBOTT

                                                              Governor




    ATTESTED BY:




                                                                                                   FILED IN THE OFFICE OF THE
                                                                                                      SECRETARY OF STATE

                                                                                                           32115¢ 0'010CK


                                                                                                           JUL 2 9 202l
             Case 5:21-cv-01041-JKP Document 1-1 Filed 10/26/21 Page 22 of 81


                            NORTHSIDH,       INDEPENDENT SCHOOL, DISTRICT


                                   POLICE             DEPARTMENT
                                                   '619 Grisom        Rond

                                              Sn   Antonio, Texas 782.1

                                    Tel ( 2 1 0 ) 197-5650    •   nr: ( 2 4 0 ) 706-7610

                                                     w ww w a n i s d net


           Ray   Galindo                           Brlun Woad,        Ed.D                 C a r l e s A,   Carne

                                                      Spetintcndent                            Lief   f     Arce




  August 27, 2021



  Jamie Marroquin

  14002 Pikesdale

  San Antonio, Texas, 78253




 DearMs. Jamie Marroquin:

 Both the Texas Penal Code and the Texas Education Code authorize school officials to restrict access

 on school district property in order to protect the educational environment and maintain law and order.




Because of the incident that occurred at the Northside Activity Center on 8/24/2021, you arc prohibited

from   appearing on any NISD Campus or Facility for thc remainder of the 2 0 2 1 - 2 0 2 2 School Ycar.             If

you fail to abidc by the terms of this warning, law enforcement authorities will be notified and you will

be subject to arrest and removal   from   the facility.




I regret this action is deemed ncccssary. We are charged to maintain a safe and orderly environment for

our students, staff and community at all times.




,:peetfully,a       l

  do..d"
Deputy Superintendent
         Case 5:21-cv-01041-JKP Document 1-1 Filed 10/26/21 Page 23 of 81




                                           DECLARATION




                             (TEX. CIV. PRAC. & REM. CODE $ 132.001)




My name is Jamie Nicole Marroquin. My birthdate is                       ; and my address is -




I declare under penalty of perjury that the following statements are true and correct.




    1.   I am a taxing paying parent of two children who attend public school at Straus Middle

         School in NISD.



    2.   I have experience with the way that my school's mask policy was enforced in the


past, including: The policy was implemented for 8/23/2021.      The School Board along with the


NISD Superintendent made their judgment on 8/17/2021 to go into affect on 8/23/2021, the


first day of classes.   Staff, administration, NISD Police, and members of the Superintendent's


cabinet enforce the mask mandate by repeatedly telling my twins to put on a mask, by requiring


they wear one in the gym or they will not be able to participate in athletics, harassing them in the


hallways until they put on the mask correctly. NISD employees also require parents and visitors


to wear a mask while on NISD property.      They do not accept religious or medical exemptions.     I


called before the 1st day of school to make sure my twins would not be forced, bullied, or shamed


into wearing a mask at school.    The school administration assured me that they would only


encourage mask wearing but would not force it.     My twins were forced day one of classes as soon


as they stepped foot inside of the building to put the mask on. I was not allowed to speak at the


School Board Meeting on 8/24/2021.        I stated I had a medical exemption and I asked for 2


different accommodations that would allow me to speak and then leave the facility once I was


finished.   I was denied the accommodations and the Chief, Charlie Carnes, asked to see my


documentation showing I had an exemption. I was carried out of the board room on the command


of the white Superintendent by 2 white male officers.    The Chief, also white, was the one who


denied my accommodation requests, and then proceeded to have me carried the rest of the way


out of the building.




                                                                                                        1




JAMIE N I C O L E MARROQUIN'S          DECLARATION
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       0n 9/3/2021,I was not allowed on a NISD elementary campus to advocate for a child


receiving special education services but was being denied access to FAPE and her IDEA services


due to not wearing a mask during school.




       On 9/9/2021, I was given a CTW while at another NISD elementary campus acting as a


special education advocate for a student who had a medical exemption, including doctor's note,


but was being segregated in a conference room all day by himself without adult supervision. The


CTW initally did not have a reason written on it.   After I requested a description be added, the


reason states: Failure to wear a mask on NISD property.


That same day the NISD police chief Charlie Carnes, along with Ray Galindo, the Asst. Deputy


Superintendent, told me I was not welcome on any NISD properties and would be arrested if I


went to my daughter's first VB game that evening.




       On 9/21/2021, I received a certified letter, stating I was banned from all NISD properties.

The date on the letter is 8/27/2021.   However, the postmark date is 9/20/2021.



       Over the past month, I have made multiple requests for the appeal and/ or grievance

policy for NISD.   I have also requested several times to meet with the asst. deputy

superintendent and the NISD School Board.      I was not granted a meeting, and was not given the

exact grievance procedures until 9/28/2021, when NISD received notice of representation and a

demand for due process.



       On 9/29/2021, my twins were subjected to retaliation when they tried to attend their

school's football game and were not allowed to go because the officer stated they had to have

THEIR parent or guardian attend with them.     There were multiple children in the stands

unattended.   They had a guardian that was going to attend with them.    However, because the

football game was held at the campus were I taught last year and the officer and principal both

know me and my twins.     They refused to allow my girls access to the football game even though

they had paid for the game and the tickets do not state, must attend with a parent or guardian.     I

was unable to attend because I am banned from all NISD properties.



       On 9/30/2021, I was escorted off of campus by 3 police officers, because I was in the

stands watching my daughter play VB.



       3.      The above-described policy or action is damaging to me and my child because due

to the CTW,I have been unable to rightfully attend my children's school related activities. I have

to ask for permission for something as simple as dropping off clothes to the twins. When I call the




                                                                                                        2




JAMIE N I C O L E MARROQUIN'S          DECLARATION
        Case 5:21-cv-01041-JKP Document 1-1 Filed 10/26/21 Page 25 of 81




school or other entities at NISD, I am treated like a ticking time bomb that has no rights to my

children.




        I have had to increase my dosage of Prozac and Xanax from 40mg to 60mg and .5mg once

every couple of days, to .5mg three times a day, respectively.   I am constantly in a state of panic,

crying, and depression because I am being treated like a criminal and not allowed to see my twins

or partake in any of their functions while they are at school.




        In addition, one of my twins has had to start taking Prozac due to her extreme anxiety of

me possibly getting arrested ifl attend any of her functions.



        The other twin cries all of the time now.   On 9/30/2021, when she saw the police officers

escort me off, she was so distraught that she started to cry and became debilitated, unable to

move for fear that if she went to me, it would make things worse, or she would get arrested.

Teachers from her school saw how upset she was, and the next day she was called into the

counselor's office to discuss me being removed from the game by police officers.




        My twins both have acne from the masks.      The acne is in the mask area only.   This is

embarrassing for them and could possibly leave permanent scars on their face.




        4.      My twins are being retaliated against and negatively affected due to NISD's mask

policy and their banning of me from all NISD properties.    They are ridiculed at school and not

allowed to partake in extracurricular activities that other students are able to enjoy.




NISD Staff and Officers treat me very hostilely, are not forthcoming with the procedures on how

to file grievances, do not return emails or phone calls, and are extremely vague when pressed on

why I was given the CTW in the first place. The NISD police are not enforcing the law, they are

instead enforcing NISD policy on a tax paying parent and not allowing me to participate in my

twins' educations at all.



Executed in Bexar County, State of Texas on October 6th, 2021.


 ,     Aa    nc       Marroqwc


S1gned:__()--1c-t--------v                                       _



Printed name: Jamie Nicole Marroquin




                                                                                                        3




JAMIE N I C O L E M A R R O Q U I N ' S   DECLARATION
   Case 5:21-cv-01041-JKP Document 1-1 Filed 10/26/21 Page 26 of 81
                                                                                                                 FILE COPY




                 IN THE SUPREME COURT OF TEXAS


                                                        No. 21-0720




  IN RE GREG ABBOTT, IN HIS OFFICIAL CAPACITY AS GOVERNOR OF THE

                                                    STATE OF TEXAS




                                      ON PETITION FOR WRIT OF MANDAMUS




ORDERED:



          I.        Relator's emergency motion for temporary relief, filed Augnst 23, 2 0 2 1 , is


granted. The order on Appellees' Rule 29.3 Emergency Motion for Temporary Order to


Maintain Temporary Injunction in Effect Pending Disposition of Interlocutory Appeal,


filed Augnst 1 7 , 2021, in Cause No. 04-21-00342-CV, styled Greg Abbott, in his official


capacity as Governor of Texas v.                    City o                        f Bexar, in the Court
                                                         f San Antonio and County o


of Appeals for the Fourth Judicial District, dated August                          19, 2 0 2 1 ,    is stayed pending


further order of this Court.


          2.            As we previously held in staying the trial court's temporary restraining


order in the underlying case, the court of appeals' order alters the status quo preceding


this controversy, and its effect is therefore stayed pending that court's decision on the


merits of the appeal. See In re Newton, 146 S.W.3d 6 4 8 , 6 5 1 (Tex. 2004). This case, and


others    like    it,    are    not    about    whether    people      should    wear    masks       or   whether   the


government should make them do it. Rather, these cases ask courts to determine which


government officials have the legal authority to decide what the government's position on


such     questions       will   be.     The    status   quo,   for   many     months,    has       been   gubernatorial


oversight of such decisions                 at both the state and local levels.           That status      quo   should


remain     in    place    while       the   court   of appeals,      and   potentially   this   Court,    examine   the


parties' merits arguments to determine whether plaintiffs have demonstrated a probable


right to the relief sought.


          3.            The petition for writ of mandamus remains pending before this Court.
Case 5:21-cv-01041-JKP Document 1-1 Filed 10/26/21 Page 27 of 81
                                                                         FILE COPY




  Done at the City of Austin, this Thursday, August 26, 2 0 2 1 .




                                         BLAKE   A. HAWTHORNE, CLERK

                                         SUPREME COURT OF TEXAS




                                         BY CLAUDIA JENKS, CHIEF DEPUTY CLERK
       Case 5:21-cv-01041-JKP Document 1-1 Filed 10/26/21 Page 28 of 81




NOTICE:       THIS DOCUMENT CONTAINS SENSITIVE DATA.



                                     NO.                   _




JAMIE MARROQUIN,                                 §   IN THE DISTRICT COURT

INDIVIDUALLY and as next friend of               §

minor children J.M.M and J.M.                    §

                                                 §

Plaintiffs,                                      §

                                                 §

V.                                               $                       JUDICIAL DISTRICT

                                                 §

                                                 §

NORTHSIDE INDEPENDENT                            §

SCHOOL DISTRICT ET AL.                           §

Defendants.                                      §   OF BEXAR COUNTY, TEXAS



                                  Temporary Restraining Order



        This matter was heard upon Plaintiffs' application for temporary restraining order, ex

parte. Based on Plaintiffs' Original Petition, Application for Temporary Restraining Order, and

Application for Temporary and Permanent Injunction ("Application") and evidence attached, the

Court GRANTS the Application as follows:



        The Court FINDS that the current face-covering policy as described by Plaintiffs enacted

and enforced by Defendants was made without authority and in fact an illegal act under Gov.

Abbott's Executive Order GA-38.



        The Court further FINDS that the face-covering policy is an apparent violation of the

Texas Open Meetings Act, which provides for injunctive relief to prohibit the exclusion of the

public in open public meetings without cause.



        The Court FINDS that, unless enjoined, Plaintiffs face irreparable harm, including

significant and irreparable damage to their right to a healthful environment while they receive a

free and appropriate public education free of illegal activity sanctioned by the Northside

Independent School District, which Gov. Abbott's Executive Order GA-38 specifically prohibits.



        Additionally, the Court FINDS immediate injunctive intervention is appropriate to

prevent further harm and preserve the status quo before the Court can hear and consider the

Plaintiffs application for a temporary injunction.



        NOW, THEREFORE, good cause appearing, the Court GRANTS the application, and

ORDERS Defendant Brian T. Woods and the Northside Independent School District

("Defendant")




                                                                                        Page 1 of2
         Case 5:21-cv-01041-JKP Document 1-1 Filed 10/26/21 Page 29 of 81




and its agents to cease enforcement actions of the face-covering policy described in the

Application, for fourteen (14) days pending an evidentiary hearing on Plaintiffs Application for

temporary injunction, as follows:



Defendants, their officers, agents, servants, and employees either directly or indirectly shall

not deny any student or parent access to Northside Independent School District facilities

based on a face covering, nor act in derogation of any right enjoyed by a person wearing a

face covering.



         This temporary restraining order is granted on the condition that an undertaking, executed

by the plaintiff and an appropriate surety in the sum of$ I 0.00 be filed to make good such

damages as may be occasioned by the Defendant, not to exceed said sums as may be suffered by

a Defendant who is found to be wrongfully restrained.



         F i l i n g of the bond herewith required is noted by this court as having occurred by the time

of issuance of this order on the same day.



The Plaintiff's motion on the application for a preliminary injunction is hereby set to be

heard before the Court at                     , on            at             o'clock. This temporary

restraining order shall continue in force for fourteen (14) days from the date it takes effect.



IT IS HEREBY ORDERED that the trial on the action on the merits will advanced and

consolidated with the hearing on the application for preliminary injunction.




Dated:
         --------




                                            Judge Presiding




                                                                                            Page 2 of2
Case 5:21-cv-01041-JKP Document 1-1 Filed 10/26/21 Page 30 of 81




                 EXHIBIT 3
                        Case 5:21-cv-01041-JKP Document 1-1 Filed 10/26/21 Page 31 of 81
FILED

10/13/2021   8.34 PM

Mary Angie Garcia

Bexar County District Clerk

Accepted By· Marissa Ugarte

Bexar County - 285th District Court



                                                   CAUSE NO. 2021 Cl-21250




                JAMIE MARROQUIN, Individually and as
                                                                         §   IN THE DISTRICT COURT

                Next Friend of Minor children, J.M.M                     §

                                                                         §
                and J.M.
                                                                         §   285th JUDICIAL DISTRICT
                Plaintiffs,                                              §

                                                                         §
                v.
                                                                         §

                NORTHSIDE INDEPENDENT                                    §


                SCHOOL DISTRICT ET AL.,                                  §   BEXAR COUNTY, TEXAS

                Defendants,




                                            MOTION TO SUBSTITUTE COUNSEL



                TO THE HONORABLE JUDGE OF SAID COURT:



                        COMES NOW JAMIE MARROQUIN, Individually and as Next Friend of Minor children,

                J. M . M and J.M., Plaintiffs herein, and move the Court to approve the substitution of Francisco R.

                Canseco, for her current counsel of record, Cesar Andres Montalvo, and would show the court the

                following:



                1 . JAMIE MARROQUIN, Individually and as Next Friend of Minor children, J.M.M and J.M.

                wish to substitute Francisco R. Canseco for their current counsel of record, Cesar Andres

                Montalvo. Cesar Andres Montalvo Counsel for Respondent does not oppose this motion.



                2. Plaintiff and Defendants will not be prejudiced in any manner by the granting of this Motion

                or by the substitution of counsel for the Plaintiff for the reason that there are no current settings

                for trial or other hearings which will be delayed by or adversely affected by this substitution.



                3. Therefore, JAMIE MARROQUIN, Individually and as Next Friend of Minor children, J.M.M

                and J.M. moves the Court for an order substituting Francisco R. Canseco as counsel of record.

                This substitution is not sought for purposes of delay.



                        WHEREFORE, PREMISES CONSIDERED, JAMIE MARROQUIN, Individually and as

                Next Friend of Minor children, J.M.M and J.M. prays that the Court enter its Order substituting

                Francisco R. Canseco as her attorneys of record for the Plaintiff, and for such other and further

                relief, both general and special, to which it may show itself justly entitled.




                                                                         Respectfully submitted,
         Case 5:21-cv-01041-JKP Document 1-1 Filed 10/26/21 Page 32 of 81




                                                       By:                      Isl   _

                                                       Francisco R. Canseco

                                                       State Bar No. 03759600

                                                       1 9 Jackson Court

                                                        San Antonio, TX 78230

                                                       2 1 0 . 9 0 1 .4 2 7 9

                                                        frcanseco@gmail.com



                                        CERTIFICATE OF SERVICE



         I certify that a true and correct copy of this document has been served on the persons or

patties identified below in accordance with one or more of the recognized methods of service by

the Texas Rules of Civil Procedure on the 1 2" day of October, 2 0 2 1 .



                                                       By E-Filing Methods




                                                       Cesar A. Montalvo

                                                       Email: information@camlaw.legal

                                                       1 1 7 5 W. Bitters Rd.

                                                       Ste. 1106

                                                       San Antonio, TX 7 8 2 1 6

                                                       Tel. (210) 296-5605

                                                       Fax. (210) 941-0777




                                                       ----
                                                                       Isl-----



                                                       Francisco R. Canseco




Plaintiffs' Motion to Substitute Counsel Page 2
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                 EXHIBIT 4
               Case 5:21-cv-01041-JKP Document 1-1 Filed 10/26/21 Page 34 of 81

FILED

10/13/2021   8:34 PM

Mary Angie Garcia

Bexar County District Clerk

Accepted By:   Marissa Ugarte
                                             CAUSE NO. 2021Cl-21250




     JAMIE MARROQUIN, Individually and as
                                                                     §   IN THE DISTRICT COURT

     Next Friend of Minor children, J.M.M                            §

                                                                     §
     and J.M.
                                                                     §   285th JUDICIAL DISTRICT
     Plaintiffs,                                                     §

                                                                     §
     V.
                                                                     §

     NORTHSIDE INDEPENDENT                                           §

     SCHOOL DISTRICT ET AL.,                                         §   BEXAR COUNTY, TEXAS

     Defendants,




                                                   ORDER GRANTING

                              PLAINTIFFS' MOTION TO SUBSTITUTE COUNSEL

               On   the   date   signed   below,   this   Court   considered   Plaintiffs',   JAMIE   MARROQUIN,



     Individually and as Next Friend of Minor children, J.M.M and J.M., Motion for Substitntion of



     Counsel.



               IT IS ORDERED THAT Cesar Andres Montalvois hereby granted leave to withdraw as



     attorney ofrecord for Plaintiffs JAMIE MARROQUIN, Individually and as Next Friend of Minor



     children, J.M.M and J.M..




               IT IS FURTHER ORDERED that the following attorneys be substitnted as attorney of



     record for Plaintiffs, JAMIE MARROQUIN, Individually and as Next Friend of Minor children,



     J.M.M and J.M.



     Francisco R. Canseco

     State Bar No. 03759600

     1 9 Jackson Court

     San Antonio, TX 78230

     (210) 901.4279

     frcanseco@gmail.com




               Signed on: October , 2021



                                                            JUDGE PRESIDING
         Case 5:21-cv-01041-JKP Document 1-1 Filed 10/26/21 Page 35 of 81




APPROVED AS TO FORM:




Cesar A. Montalvo

Email: information@camlaw.legal

1 1 7 5 W. Bitters Rd.

Ste.   1106

San Antonio, TX 78 2 1 6

Tel. (210) 296-5605

Fax. (210) 941-0777



ATTORNEY WITHDRAWING

FOR Plaintiffs,     JAMIE   MARROQUIN,    Individually   and   as   Next Friend   of Minor   children,

J.M.M and J.M.




F·        o   . Canseco

State Bar No. 03759600

1 9 Jackson Court

San Antonio, TX 78230

210.901.4279

frcanseco@gmail.com

ATTORNEYS SUBSTITUTING

FOR JAMIE MARROQUIN,           Individually   and as Next Friend of Minor children,     J.M.M     and
J_M                                             _
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                 EXHIBIT 5
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F I L ED

10/13/2021   9:30 PM

Mary Angie Garcia

Bexar County District Clerk

Accepted By: Shaamid M Gaitan

Bexar County - 285th District Court


                                                    CAUSE NO. 2021-CI-212250



                JAMIE MARROQUIN, Individually and                        IN THE DISTRICT COURT

                as Next Friend of Minor Children,

                J.M.M. and J.M.

                Plaintiffs

                                                                         285th JUDICIAL DISTRICT

                V.

                NORTHSIDE INDEPENDENT

                SCHOOL DISTRICT, et al

                Defendants                                               BEXAR COUNTY, TEXAS



                                        PLAINTIFF'S AMENDED ORIGINAL PETITION

                                                                   for

                                 APPLICATION FOR TEMPORARY RESTRAINING ORDER

                                                                  and

                                       TEMPORARY AND PERMANENT INJUNCTIONS

                                                                  And

                                                   DECLARATORY JUDGMENT



                          COME NOW_Jamie Marroquin, Individually and as Next Friend of Minor children, J.M.M


                and J.M. Plaintiffs herein and file this suit for Temporary Restraining Order, for a Temporary Injunctions, for a


                Permanent Injunction and a Declaratory Judgment under the Texas Uniform Declaratory Judgments Act,


                Chapter 37 of the Texas Civil Practice and Remedies Code against Northside Independent School District, a


                Texas Independent School District, and Its Superintendents,      for damages for depravation of Plaintiffs' Civil


                Rights under the US and Texas Constitution, and for cause, alleging to the court as follows:




                DISCOVERY - CONTROL PLAN


                I.     Plaintiffs intend to conduct discovery under level two of the Texas rules of Civil Procedure


                       190.3/ 190.4 and affirmatively pleads that this suit is not governed by the expedited actions


                       process in Texas rule of Civil Procedure 169.




                CLAIM FOR RELIEF


                2.     Plaintiffs seek a Temporary Restraining Order; a Temporary Injunction, a Permanent


                       Injunction, and a Declaratory Judgment under the Texas Uniform Declaratory Judgments


                       Act, Chapter 37 of the Texas Civil Practice and Remedies Code together with monetary relief


                       of$500,000 or less and non-monetary relief for depravation of Plaintiffs' Civil rights under


                       the US and Texas Constitution.




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PARTIES




3.   Plaintiff Jamie Marroquin is an individual resident of Bexar Connty Texas. She is the mother


     of two children who attend a middle school owned and operated by the Defendants.


     Defendant is an Independent School District, organized and existing under the laws of the


     State of Texas. Service of process may be had upon the Defendant by serving its


     Superintendent, Brian Woods at its offices located at 5 6 1 9 Grissom Road, San Antonio,


     Bexar County, Texas, 78238 or at 5900 Evers Road, San Antonio TX 78238 or wherever


     Defendant may be found.


4.   Defendant Dr. Brian T. Woods is sued in his official capacity as superintendent ofNISD and


     may be served with process at his place of employment at the following address: 5900 Evers


     Road, San Antonio, TX 78238, or wherever may be found.




JURISDICTION and VENUE


5.   Jurisdiction and Venue are proper in Bexar County. Both the Plaintiffs and the Defendants


     are residents of Bexar County and the conduct the subject of this suit, occurred within Bexar


     County. Venue is proper in this cause under Section 15.002(a)(l) Tex. Civ. Prac and Rem.


     Code because all or a substantial part of the events or omissions giving rise to this lawsuit


     occurred in this county.


FACTS


6.   Plaintiff Jamie Marroquin ( JM) and her husband are the parents of two middle school


     children (Plaintiffs minor children J.M.M and J.M.) who attend Straus Middle School, a


     middle school of the Defendant. Plaintiff JM has achieved a degree of Master of Education


     (M.Ed) and is frequently employed as a Special Education Advocate.


7.   On or about August 24, 2021, Plaintiff attended Defendant's regular board meeting. She


     entered the meeting room without a mask on her face. An administration official asks JM to


     put on a mask. JM advised the official that she has a medical exemption; that she has had


     covid; that she has been vaccinated, and she was socially distanced from everyone.       A


     Defendant's police officer then tells JM that she will have to leave or put a mask on.   She


     then repeals to him what she told the Defendant's Administrator. The Police officer states


     that the JM is not allowed to be there without a mask.   Plaintiff JM tells him that she was not




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      going to leave without speaking to the board, as that was the reason she came to the


      Defendant's meeting.


8.    The Defendant's Police Officer then calls for back up and the Plaintiff JM is then carried out


      of the meeting, before it starts, by 2 male police officers.


9.    Outside of the meeting room, Defendant's Police Chief tells the Plaintiff JM that she has to


      leave. Plaintiff then asked for accommodation because of medical exemption. Both were


      denied. Defendant was asked to see proof of medical exemption which Plaintiff did not have


      in her possession at that time. Two male officers then carried Plaintiff the rest of the way out.


1 0 . On or about September 9, 2021, Plaintiff JM was hired to be a special ed advocate for 7-year­


      old student being denied FAPE by being segregated in a conference room all day without


      supervision or parental approval.    The student receives special education services and has a


      valid doctor's note stating his exemption. Plaintiff JM was invited into the child's school


      (Defendant's school), along with the parent of the c h i l d . by the principal Ms. Mata-Tausch.


      Plaintiff JM and the parents of the child were seated in the conference room for 20 minutes


      expecting to have a meeting with the school principal. Instead, 4 to 5 male police officers


      arrived, mask-less, lo the school on the request of Ms. Mata-Tausch. She made them go gel


      their masks before they came to remove Plaintiff JM from the room. For over 20 minutes


      Plaintiff JM was in a room by herself with multiple male police officers questioning and


      arguing with her until a   Criminal Trespass Warning (CTW) was written up on request of


      Ray Galindo, an agent for the Defendant.     The Officers stated it was due to the Plaintiffs JM


      activities at the 8/24/21 meeting.   A copy of the CTW is attached hereto as EXHIBIT A and


      made a part hereof for all intents and purposes.


1 1. Plaintiff JM was told by Ray Galindo and Chief Carnes both Defendant's agents, that the


      Plaintiff JM was not welcome on Defendant's NISD properties and that she was not allowed


      to attend her daughter's very first volleyball game that day.


12.   Plaintiff has called and emailed, in attempts to speak with Defendant's agent Ray Galindo.


      Plaintiff has requested a call back, and a meeting with Defendant's Ray Galindo, a meeting


      with the Defendant's board, information on any appeals processes, and for the reason behind


      the CTW, and call backs have been refused and requests for meetings have not been granted.


      Only emails have been sent by Defendant on instructions on what can or cannot be done by


      the Plaintiff.




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13. On September 1 6 , 2021 a letter was sent to Defendants, a copy of which is attached hereto as


   Exhibit B and made a part hereof.    On September 2 1 , 2021 Plaintiff JM received a certified


   letter postmarked 9/20/21 but dated 8/27/21 from Defendant's agent Rey Galindo.


14. On 9/27/2021 a letter was sent to defendant, a copy of which is attached hereto and marked


   Exhibit C and made a part hereof. On 9/28/2021 the Defendant replied stating that Plaintiff


   could attend her children's school functions with prior approval from each school's


   principals where they would be playing their games.     With tickets purchased to attend


   Plaintiff J M ' s children's (J.M.M and J.M.) school's football game at Folks elementary


   school, the children were refused entry based on their lack of a parent or guardian Dispite the


   fact that the Plaintiff JM was in their company. Plaintiff had to pick up her children from the


   school game since the children were being retaliated by the school because of the CTW.


1 5 . On 9/30/2021 Plaintiff received an email from Defendant' agent Rey Galindo stating that her


   interactions with staff at Folks was unacceptable and that she was completely banned from


   attending any further school events, including her daughter's game against Fo l k s that


   evening.   A copy of the email is attached hereto as Exhibit D and made a part hereof.



   Notwithstanding, Plaintiff attended the school game. Defendant's Agents attempted to block



   her entrance. Without confrontation, Plaintiff walked around them, and sat on the bleachers


   to watch her daughters play. 1 5 minutes into the game 3 male officers, stopped the volleyball


   game and stated the game would not continue until the Plaintiff left.


16. The Defendant's conduct is in violation of the U . S . Constitution and the Constitution of the



   State of Texas in that they have denied her access to her children and her children's


   educational rights and failed to give her due process. Additionally, the Defendants have used


   an unfair, abusive, excessive, and unjust punishment when without the right to impose that


   punishment have continually harassed and punished the Plaintiff JM for her exercise of free


   speech rights.


17. The Defendants' conduct is a violation of Plaintiffs' civil and constitutional rights.


   Additionally. the Defendant's conduct in physically removing her from her rightful presence


   and right to speak at a School Board meeting is an assault on her person. She was made to


   suffer anguish, mental suffering frustration and anxiety because of the conduct of the


   Defendant towards her. Furthermore, the Defendant's all out banishment of a tax paying


   parent from participation in her children's education is a blatant violation of her civil rights




                                                                                                      4
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   as a parent to raise her children with love and attention, not to mention the Children (J.M.M.


   and J . M . ) ' s right to have parents at their school functions and to drop them off at school and


   pick them up.


1 8 , Plaintiffs have been damaged in an amount of damages not to exceed $500,000.00 dollars


   because of the malicious conduct of the Defendants. Approximately two weeks before



   classes started, on July 29\0, 2 0 2 1 , Governor Greg Abbott issued executive order GA-38


   which states in pertinent part:




"No governmental entity,   including a county,   city,   school district,   and public health authority,




and no governmental official may require any person to         wear a face covering or to mandate that




another person wear a face covering [other than hospitals andjails].            "   Exhibit E.




1 9 . GA-38 also specifically superseded any face-covering requirement imposed by any local


   government entity or official and made any such action illegal as a "failure to comply with"


   GA-38 and made individuals subject to a $ 1 0 0 fine.



20. On August 17 2021, the Defendant and its Superintendent Defendant Woods announced that


   their schools will be enforcing a face-covering policy that went into effect on August 23,


   2021. To date, the policy requiring face-coverings is in full effect. Defendant has been


   issuing "Criminal Trespass Warnings" or CTW to parents that do not comply with the face­


   covering mandate and prohibit students from attending classes if they do not comply.


2 1 . Defendant has proffered no guidance as to what a satisfactory face-covering will be and does


   not permit an exemption based on religion, health, or conscience.


22. 1 was for this very issue for which Plaintiff attended the open school board meeting, on


   August 24, 202.


                                          RELIEF REQUESTED




               Incorporation of the Mandamus Relief Sought by Gov. Abbott.




23, Gov. Abbott has filed a Petition for Writ of Mandamus filed in the Fourth Judicial District


   Court of Appeals. Styled In Re: Greg Abbott, Cause No. 05-21-00687-CV, the Petition states


   that the Governor's executive orders have the full effect and force of law, and local


   authorities do not have the legal authority to countermand Governor Abbott's command.




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      Local authorities are part of the Texas Governor's disaster team and are not free to go wilding


      with their own peculiar political peccadilloes and create their own laws. Incorporation of The


      Texas Supreme Court Order Cause 21-0720 Greg Abbott, in his official capacity as Governor


      of Texas   y.   City of San Antonio and County ofBexar,


24. The Supreme Court of Texas has stated that the status quo to date is for the Governor to


      preempt state and local government:




" . . Rather, these cases ask courts to determine which government officials have the legal


authority to decide what the government's position on such questions will be. The status quo, for


many months, has been gubernatorial oversight of such decisions at both the state and local


levels. That status quo should remain in place while the court o
                                                               f appeals, and potentially this


Court, examine the parties' merits arguments to determine whether plaintiffs have demonstrated


a probable right to the relief sought." Exhibit F.




           COUNT 1 -- DECLARATORY JUDGEMENT


25.   There exists a genuine controversy between the parties herein that would be terminated by


      the granting of declaratory judgment. Plaintiff therefore requests that declaratory judgment


      be entered as follows:


                      A. That N I S D ' s mask mandate is in direct violation of Governor's Executive


           Order GA-38 and GA-38 preempts NISD mask policy.


                      B. The Plaintiffs are permitted to attend their school without being forced to wear


           a face covering against the Defendants' mask mandate currently in place.


                      C. The CTW, though improvidently issued has nevertheless been used as a sword


           and hammer against the rights of the Plaintiff and her children.


                      D. The Defendants, their agents, officers, school principals, teachers and assigns


           have been employing harassment tactics, excessive means to silence and punish the


           Plaintiffs for her speech and failing to give her a fair opportunity to make her case for not


           wearing a mask. Defendants are a public entity that serves the public and its constituents


           who pay their salaries. Defendants are not overlords but a servant.


      I.   All actions of the Defendants are in violation of the Plaintiffs' Civil and Constitutional


           rights and infringe on the Plaintiffs' exercise thereof. The Defendants conduct must be


           declared totally invalid and the use of the CTW should be declared expunged.




                                                                                                           6
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COUNT 2--VIOLATION OF THE TEXAS OPEN MEETINGS ACT




26. Open meetings of government entities that exclude any person violate the Texas Open


   Meetings Act, sec. 5 5 1 . 0 0 2 Tex Gov Code, which stipulates that                      "[e/very regular,   special,




   or   called meeting o
                       f a gov'/   body shall   be   open   to   the p u b l i c . . . " .




27. The Defendants unilaterally created their own law by mandating face- covering in violation


   of GA-38. Then, the Defendants enforced their illegal law against the Plaintiff to violate the


   Texas Open Meetings Act.




COUNT 3 - - S U I T FOR TEMPORARY RESTRAINING ORDER, TEMPORARY


INJUNCTION AND PERMANENT INJUNCTION




28. All conditions precedent have been performed or have occurred.


29. Plaintiff requests a temporary restraining order ("TRO"), to protect the status quo, by


   preventing Defendants from enforcing their prohibition against non-mask wearing students


   entering school until the Court issues a temporary injunction, or the case can be adjudicated.


30. The comparative injury, or balance of equities and hardships, to the parties and to the public


   interest, support granting a temporary restraining order; Plaintiff is only asking the Court to


   preserve the status quo, and require the Defendants cease from enforcing their prohibition,


   which is damaging Plaintiffs constitutional rights to a public education.


3 1. There is no adequate remedy at law that will give Defendants full relief, because Defendants'


   actions are illegal, and Plaintiffs suffer from diminished value of their education. Each day,


   the Plaintiff suffers significant irreparable damage to due process of law and education.


   Plaintiffs' total damages cannot be measured with certainty, and it is neither equitable, nor


   conscionable, to allow Defendants to violate state law.


32. The loss of constitutional freedoms for, "even minimal periods of time, unquestionably


   constitutes irreparable injury." Elrod v. Burns, 427 U.S. 347,373 (1976). This is no less true


    for statutory-based freedoms, such as the right to a free and appropriate public education. The


   harm to the Plaintiffs, if the TRO is denied, will be significant and irreparable. If this Court


    allows Defendants to continue their illegal, and excessively cruel acts, against the Plaintiff


    and her children, they face a diminished educational experience and their parents will


    continue to be excluded from their children's educational growth. If Plaintiffs application is




                                                                                                                            7
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   not granted, harm is imminent because her children's educational experiences will continue


   to affect them in a negative manner, and the Plaintiff's guaranteed Constitutional Rights will


   continue to be denied.


33. The harm that will result if the Temporary Restraining Order is not issued is irreparable


   because the children's mother is not permitted to participate in their educational process.


   Additionally, a violation of personal constitutional rights causes irreparable harm to Plaintiff


   in denying her due process, and free speech.


34. The Plaintiffs are entitled to a TRO, because Defendants can show no harm to the


   Defendants, in granting the relief requested. Defendants violated the legal process and the


   Texas Open Meetings Act. Enjoining an already illegal, and nnconstitutional policy does not


   cause harm to the Defendants.


35. Therefore, Plaintiffs respectfully request    that this Court issue a temporary restraining order


   against the Defendant -- restraining them, their officers, agents, school employees, school


   principals, teachers and assigns or anyone acting on their behalf, until farther order of the


    Court of and from:


       a.   from taking any actions to enforce the mask policy, or any iteration thereof against


            Plaintiffs, including but not limited to, permitting Plaintiffs access to school without a


            mask.


       b.   from denying the Plaintiffs access to the Defendant's School Properties and Grounds


            where her children are attending either for educational, extra-curricular, athletic or


            social purposes, or from restricting her access to any meetings of the school board or


            any of its committees for any reason or from speaking there-at in a peaceable manner


            and to address the Defendant's official bodies, agents, school principals, teachers


            school officers and officials in Plaintiffs capacity as a parent, taxpayer and


            constituent of the Defendants.


36. The Plaintiffs application for a Temporary Restraining Order is authorized by Tex. Civ.


    Prac. And Rem. Code section 65. 011 ( 1 ) .


37. It is probable that the Plaintiffs will recover from Defendants after a trial on the merits


    because the Defendants have been acting in a capricious manner toward the Plaintiffs and


    overstepping their presumed authority over a parent and constituent, denying her rights that


    are constitutionally protected.




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38. There is not enough time to serve notice on the Defendant and to hold a hearing on this


   application.




       REQUEST FOR TEMPORARY INJUNCTION


39. The Plaintiffs ask the court to set their application for Temporary Injunction for a hearing


   and after the hearing issue a Temporary Injunction against the Defendant.




       REQUEST FOR PERMANENT INJUNCTION


40. The Plaintiffs ask the court to set their request for a Permanent Injunction for a full trial on


   the merits and after the trial issue a Permanent Injunction against the Defendant.


4 1 . All conditions precedent to Plaintiffs claim for relief have been performed or have occurred.




       ATTORNEY'S FEES.


42. Plaintiffs are entitled to recover reasonable and necessary attorney's fees that are equitable


    and just under Texas civil practice and remedies code section 37.009.


43. All conditions precedent to Plaintiffs claim for relief have been performed or have occurred.




        PRAYER


44. For these reasons Plaintiffs ask that Defendants be cited to appear and answer herein and on


    final trial that Plaintiffs to be awarded a judgment against the Defendants for the following:


        a.   A Temporary Restraining Order.


        b.   Temporary Injunction Order.


        c.   A Permanent Injunction Order.


        d.   That the court declare that the CTW is expunged.


        e.   For actual damages.


        f.   For prejudgment and post-judgment interest.


        g.   For Attorney's fees.


        h.   For costs.


        1.   And, for all other relief at law or in equity to which Plaintiff is entitled.




                                                 Respectfully submitted,




                                                                                                       9
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                                                 ____c
                                                            /S/------

                                                 Francisco R. Canscco

                                                 Attorney for Plaintiff

                                                 State Bar No. 03759600

                                                 frcanscco@gmail.con

                                                 1 9 Jackson Court

                                                 San Antonio, Tcxas 78230

                                                 210.901.4279




                                              VERIFICATION




STATE OF TEXAS



COUNTY OF BEXAR



               BEFORE ME, the undersigned authority, personally appeared J A M I E MARROQUIN, on

her oath, stated that the statements made in the foregoing Application for Temporary Restraining

Order, Temporary Injunction and Permanent Injunction arc true and correct.




                                                ~4gee.teem­
                                                 JA,   IE MARROQUIN




               SUBSCRIBED AND SWORN TO BEFORE ME on              uis 0    /      aor October   2021



to certify which witness my hand and seal of office.




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84,8+6,,   4
                   DAISEY LUEBANOS

?y'it'tNonry         Public, State   of T s      Notary Public, State of Texas
z          5    Comm. Expires 07-30-2025

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                                                  Cause N0. 2 0 2 1 - C 1 - 2 1 2 5 0



J A M I E MARROQUIN, Individually and as

Next Friend ofMinor children, 1.M.M                                IN   T H E DISTRICT COURT

and J.M.

Ptaintiffs,



V.                                                                 2851h J U D I C I A L DISTRICT




N O R T H S I D E INDEPENDENT

SCHOOL DISTRICT, ET AL.,                                           BEXAR       COUNTY. TEXAS

Defendants,



                                           AFFIDAVIT IN SUPPORT OF

         PLAINTIFF'S APPLICATION                    FOR T E M P O R A R Y         RESTRAINING O R D E R




         BEFORE ME, the undersigned authority, personally appeared J A M I EM A R R O Q U I N


, who after being duly swom, deposed as follows:




"My name is J A M I E M A R R O Q U I N .         I am at least   I 8 years of age and of sound mind.         I am   The

Plaintiff in the above numbered and styled suit against the Defendant                   and am   personally

acquainted with the facts alleged in Plaintiffs' Original Petition and Application For Temporary

Restraining Order and Temporary and Permanent injunctions.

         "Further affiant sayeth not."


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                            NORTHSIDE INDEPENDENT SCHOOL DISTRICT

  EXHIBIT A                           POLICE DEPARTMENT

                            Criminal Trespass Warning




Pone:       r   Age:   _    D.0.B.:   !!Race: Se            HairFye Wee

Hgt.:_
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                             written notification. This is not a Plea of Guilty.
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                           FRANCISCO                                    R .       CANSECO
                                                     ATTORNEY AT LAW




                                                                   9/16/2021


Northside              ISD

5900      Evers            Road,
                                                                                                                     Exhibit B
San      Antonio            TX        78238



Attn:          Dr.     Brian           T.    Woods,               Superintendent




Re:      Straus            Middle           School




Dear      Sirs,


          Mrs.         Jamie           Nicole         Marroquin                   has    brought           attention             to       a

matter          which            this       office            has       advised          that       the        conduct          of    NISD

and      its     school               officials               is    unlawful             and       subject           to       legal

action          on     her        behalf.

          At     a     parents              meeting               conducted             on    August           24,       2021    at

Northside              Activity              Center,               Mrs.         Marroquin           was        attending

without          a     face           mask.         She           was       forcibly          removed           by       two    school

officers             even         though          she         advised             them       that       she     had       a    medical

exemption              from           wearing         a       facemask             several          times.           No

accommodation                     was       offered.               Additionally                on       S e p t e mb e r       9th    of

this      year         she        was       issued            a    Trespassing                Citation              Warning          by       the

NISD      Police            Department.                   Since             then,       she    has       been        told       that          if

she      is     found            anywhere           on        campus            she     will       be    arrested              for

trespassing.

          Mrs.         Marroquin             is     the           parent          of    two    children              enrolled             at

Straus          Middle            School.           She           has       a   medical        disability                 that

prevents             her         from       using         a       mask.         She     is    fully        inoculated                with

the      COVID-19                vaccination,                     and       she    has       natural           immunities             since

having          contracted                  Covid-19               in       February          of    this        year.          Though

she      expressed                her       medical               disability             to    the       officers              removing

her      and      their           failure           to        recognize               and     listen           to    her

disability                 claims,           there            was       a       complete       failure              to    offer       and

accommodation                     in    violation                  of       the    ADA       (42    U . S . C .      $    12101)A

Federal           law       that        prohibits                  discrimination                   based           on

disability.                 To        exacerbate                  the    matter,             she    is     now       banned"              from

the      school            grounds           and      her          participation                   and     care          for    her       two

children             that         attend          the         district             school          is    severely              impeded.

As     the      mother            of    the       two         students,                she    should           not       be    excluded

and      prohibited                   from    entering                  the       school       grounds              to    participate

in     her      children's                  school            activities                and    needs.

          Because                of    the    conduct                  against          Mrs.       Marroquin              there       are

clear          violations               of    ADA.            Additionally,                   you       will        recall       that

the      governor                of    the    State               of    Texas         has     made        it    clear          that




19   JACKSON   COURT   •   SAN   ANTONIO,   TEXAS   78230     •   RCANSECO@GMAIL.COM "         210.901.4279
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masks          are     not       mandated            in         school.          You    are        in    violation             of    the

laws      of     the        State        of     Texas            as       directed       by        its       governor.



          Mrs.         Marroquin              is     a      taxpayer             to    the    school           district.

Demand          is     hereby           made        that         you       rectify       this           situation          and

ceased          to     discriminate                  against               her    by    forcing              her    to   wear        a

mask      while            she     is    on     campus               in    any    building              or    grounds          of

NISD,          and     from        prohibiting                   her       from       entering           the       campus      where

in     she      has        every        right        to         be.       Your    response              must       be    received

within          the        next      five       days.            I    have       been    instructed                 to    file       an

action          in     a    competent               jurisdiction                  against           the       district          and

its     employees                that       have         taken            the    aforementioned                    actions

against          Mrs.        Marroquin.                  Attorney               fees    and        costs       will       be

assessed             against            you.        Needless               to    say,    this           will       cause       the

school          district             additional                  expense.



          Please            give        this        matter            your       immediate              attention.




Very      truly             ours,




19   JACKSON   COURT   •   SAN   ANTONIO,   TEXAS   78230   •   FRCANSECO@GMAIL.COM      •   210   901.4279
                Case 5:21-cv-01041-JKP Document 1-1 Filed 10/26/21 Page 51 of 81


                                 N O R T H S [ D E INDEPENDENT SC HOOL, DIST[CT


                                     POLICE               DEPARTMENT
                                                       S61   & i s w t      Road

                                                  San   Antonio,       Ters 72.1
                                       Tel:   (210)   197-560      •   Fns:       (210)   706-1610

                                                          w w w . n i s t d mct

           Ray   Galindo                                rlan Wouh,          Ed.D                          Clrle     , Carne«
       Deputy   Superintendent                            Superintendent                                    Chief   f Polee




  ·August 27. 2 0 2 1
                                                                                  EXHIBITC
  Jamie Marroquin

  14002 Pikcsdale

  San Antonio, Texas, 78253




 Dear Ms. Jamie Marroquin;

 Both the Texas Penal Code and the Texas Education Code authorize school officials to restrict access

 on school district property in order to protect the educational environment and maintain law and order.




Because of the incident that occurred at the Northside Activity Center on 8/24/2021, you are prohibited

from appearing on any NISD Campus or Facility                   for    thc remainder of the 2 0 2 1 - 2 0 2 2 School Year.     If

you fail to abide by the terms of this warning, law enforcement authorities will be notified and you will

be subject to arrest and removal from the facility.




I regret this action is deemed necessary. We are charged to maintain a safe and orderly environment                             for



our students, staff and community at all times.




    %/
  l.d­
Deputy Superintendent
           Case 5:21-cv-01041-JKP Document 1-1 Filed 10/26/21 Page 52 of 81


                                              EXHIBITD



  tom.       Ray

             Galindo <ray.galindo@nisd.net>


      to     Jamie M


             <jamiemarroquin9@gmail com>


      cc:    Dana Gilbert-Perry


             <dana .qi I bert-perry@ni sd.net>,


             Alma Gonzalez


             <alma.gonzalez@nisd.net>,


             Charlie Carnes


             <charlie.carnes@nisd.net>,


             Eric Tobias


             <eric,tobias@nisd.net>,


             Alex Villareal


             <alex,villareal@nisd.net>,


             Shawn Mckenzie


             <shawn.mckenzie@nisd.net>,


             Robert Harris

             <robert.harris@nisd.net>


   date.     Sep 3 0 , 2 0 2 1 , 1 . 3 9 PM



subject      CTW Status


nailed-      nisd.net

      by



zigned-      nisd.net




Mrs. Marroquin,



It has been reported to me that your behavior at one of our facilities yesterday was not

acceptable.



While picking up your child(ren) yesterday afternoon, reports indicate that you were

confrontational and disrespectful with N ISO staff.



Therefore, you may NOT attend today's game at Harlan HS, nor will you be allowed to

attend future events until further notice.



My assistant will follow up with you via telephone to ensure this message is received.



Ray   G   alindo

Deputy Superintendent for Administration

Northside 1SE

5900 Evers Road
       Case 5:21-cv-01041-JKP Document 1-1 Filed 10/26/21 Page 53 of 81
                                                                                                                          FILE COPY




EXHIBITF
                      IN THE SUPREME COURT OF TEXAS


                                                             No. 21-0720




      IN RE GREG ABBOTT, IN HIS OFFICIAL CAPACITY AS GOVERNOR OF THE

                                                         STATE OF TEXAS




                                           ON PETITION FOR WRIT OF MANDAMUS




    ORDERED:



               I.            Relator's emergency motion for temporary relief, filed August 23, 2021, is


    granted. The order on Appellees' Rule 29.3 Emergency Motion for Temporary Order to


    Maintain Temporary               Injunction in Effect Pending Disposition of Interlocutory Appeal,


    filed August 1 7, 2 0 2 1 , in Cause No. 04-21-00342-CV, styled Greg Abbott, in his official


    capacity as Governor o
                         f Texas v. City o                        f Bexar, in the Court
                                         f San Antonio and County o


    of Appeals for the              Fourth Judicial District,        dated August       19,     2021,    is   stayed pending


    further order of this Court.


               2.            As we previously held in           staying the trial court's temporary restraining


    order in the underlying case, the court of appeals' order alters the status quo preceding


    this controversy, and its effect is therefore stayed pending that court's decision on the


    merits of the appeal. See In re Newton, 146 S.W.3d 648, 6 5 1                         (Tex. 2004). This case, and


    others     like    it,    are    not    about    whether    people       should   wear      masks         or   whether   the


    government should make them do it. Rather, these cases ask courts to determine which


    government officials have the legal authority to decide what the government's position on


    such     questions        will   be.     The    status   quo,   for    many    months,      has     been       gubernatorial


    oversight of such decisions                  at both the    state     and local   levels.   That status         quo   should


    remain     in     place    while       the   court   of appeals,      and   potentially   this    Court,       examine   the


    parties'    merits arguments to determine whether plaintiffs have demonstrated a probable


    right to the relief sought.


               3.            The petition for writ of mandamus remains pending before this Court.
Case 5:21-cv-01041-JKP Document 1-1 Filed 10/26/21 Page 54 of 81
                                                                         FILE COPY




  Done at the City of Austin, this Thursday, August 26, 2 0 2 1 .




                                         BLAKE A. HAWTHORNE, CLERK

                                         SUPREME COURT OF TEXAS




                                         BY CLAUDIA JENKS, CHIEF DEPUTY CLERK
       Case 5:21-cv-01041-JKP Document 1-1 Filed 10/26/21 Page 55 of 81




San Antonio,   TX 7 8 2 3 8 - 1 6 9 9

(210)397-8771

ray.galindo@nisd.net
           Case 5:21-cv-01041-JKP Document 1-1 Filed 10/26/21 Page 56 of 81


                             Automated Certificate of eService

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certificate of service that complies with all applicable rules.



Francisco Canseco on behalf of Francisco Canseco

Bar No. 3759600

frcanseco@gmail.com

Envelope I D : 5 8 1 6 9 2 5 3

Status as of 10/20/2021          8:42 AM CST



Case Contacts




 Name              BarNumber     Email                TimestampSubmitted      Status



Cesar A.Montalvo                 cesar@camlaw.legal   10/13/2021 9:30:40 PM   SENT
Case 5:21-cv-01041-JKP Document 1-1 Filed 10/26/21 Page 57 of 81




                EXHIBIT 6
                            Case 5:21-cv-01041-JKP Document 1-1 Filed 10/26/21 Page 58 of 81
FILED

10/14/2021   1 2 : 1 5 PM

Mary Angie Garcia

Bexar County District Clerk

Accepted By: Brenda Trujillo

Bexar County - 285th District Court




                                                             Cause N0. 2021-C1-21250



                 JAMIE MARROQUIN, Individually and as

                 Next Friend of Minor children, J.M.M                      IN THE DISTRICT COURT

                 and J.M.

                 Plaintiffs,



                 V.                                                        285th JUDICIAL DISTRICT




                 NORTHSIDE INDEPENDENT

                 SCHOOL DISTRICT, ET AL.,                                  BEXAR COUNTY, TEXAS

                 Defendants,




                                                TEMPORARY RESTRAINING ORDER



                            On ------� 2021 the Application for a Temporary Restraining Order of JAMIE


                 MARROQUIN, Individually and as Next Friend of Minor children, J.M.M and J.M.


                 Plaintiff herein, are heard before this court.


                            Based upon the pleadings, records, documents filed by counsel, and the arguments of


                 counsel at the hearing, IT CLEARLY APPEARS:


                            That unless NORTHSIDE INDEPENDENT SCHOOL DISTRICT, its Superintendents,


                 Defendants, its officers, agents, servants, employees, teachers, successors and assigns, and


                 attorneys, are immediately restrained from:


                       1.   denying the Plaintiff access to the Defendant's school properties and grounds where her


                            children are attending either for educational, extra-curricular, athletic or social purposes,


                            or from restricting her access to any meetings of the school board or any of its


                            committees for any reason or from speaking there at in a peaceable manner to address the


                            Defendant's official bodies, agents, school principals, teachers school officers and


                            official in Plaintiffs capacity as a parent, taxpayer and constituent of the Defendant,


                       2.   from taking any actions to enforce the mask policy, or any iteration thereof against


                            Plaintiffs, including but not limited to, pennitting Plaintiffs access to school without a


                            mask.




                                                                                                                            I
           Case 5:21-cv-01041-JKP Document 1-1 Filed 10/26/21 Page 59 of 81




      3.   Plaintiffs will suffer irreparable harm if the Defendants are not restrained immediately


           and there is no adequate remedy at law to grant Plaintiffs complete, final and equal relief.


           IT IS THEREFORE ORDERED, ADJUDGED AND DECREED NORTHSIDE


INDEPENDENT SCHOOL DISTRICT, Defendant herein, its officers agents and assigns, and all


of Defendants' officers, agents, servants, employees, successors and assigns, and attorneys are


ORDERED to immediately cease and desist from:




           I.   denying the Plaintiff access to the Defendant's School Grounds where her children


                are attending either for educational, extra-curricular, athletic or social purposes, or


                from restricting her access to any meetings of the school board or any of its


                committees for any reason or from speaking there at in a peaceable manner to address


                the Defendant's official bodies, agents, school principals, teachers school officers and


                official in Plaintiffs capacity as a parent, taxpayer and constituent of the Defendant,


                from the date of entry of this order until fourteen (I 4) days thereafter, or until further


                order of this Court.




           2.   from taking any actions to enforce the mask policy, or any iteration thereof against


                Plaintiffs, including but not limited to, permitting Plaintiffs access to school without a


                mask, from the date of entry of this order until fourteen (14) days thereafter, or until


                further order of this Court.




           IT IS THEREFORE ORDERED, ADJUDGED AND DECREED that Plaintiffs


Application for Temporary Injunction be heard on 28" of October 2021 at               9:00       A.M in


the                                             .Defendants, Northside Independent School District
      --------------

and it Superintendent       are   commanded to appear at that time and show cause, if any exist, why a


Temporary Restraining Order should not be issued against said Defendants.




           The clerk of the above-entitled court shall issue a Temporary Restraining Order in


conformity with the law and the terms of this order upon the filing by Plaintiff of the bond


hereinafter set.




                                                                                                              2
        Case 5:21-cv-01041-JKP Document 1-1 Filed 10/26/21 Page 60 of 81




        This order shall not be effective until Plaintiff deposits with the Clerk, a bond in the


amount of $ in conformity with the law.


        SIGNED and ENTERED on                                           at       _      .M.




                                               PRESIDING JUDGE




Fr nc    o.   .Canseco

Attorn y for Plaintiffs

State Bar No. 03759600

frcanseco@gmail.com

1 9 Jackson Court

San Antonio, Texas 78230

210.901.4279




                                                                                                   3
           Case 5:21-cv-01041-JKP Document 1-1 Filed 10/26/21 Page 61 of 81


                             Automated Certificate of eService

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certificate of service that complies with all applicable rules.



Francisco Canseco on behalf of Francisco Canseco

Bar No. 3759600

frcanseco@gmail.com

Envelope I D : 5 8 1 8 7 1 9 7

Status as of 10/14/2021          3:37 PM CST



Case Contacts




Name               BarNumber     Email                TimestampSubmitted                       Status



Cesar A.Montalvo                 cesar@camlaw.legal   1 0 / 1 4 / 2 0 2 1 1 2 : 1 5 : 3 9 PM   SENT
Case 5:21-cv-01041-JKP Document 1-1 Filed 10/26/21 Page 62 of 81




                EXHIBIT 7
        Case 5:21-cv-01041-JKP Document 1-1 Filed 10/26/21 Page 63 of 81




                                       CAUSE NO. 2021Cl-21250




JAMIE MARROQUIN, Individually and as
                                                                  §   IN THE DISTRICT COURT
Next Friend of Minor children, J.M.M                              §

                                                                  §
and J.M.
                                                                  $ 285th JUDICIAL DISTRICT
Plaintiffs,                                                       §

                                                                  §
V.
                                                                  §

NORTHSIDE INDEPENDENT                                         ·   $




SCHOOL DISTRICT ET AL.,                                           §    BEXAR COUNTY, TEXAS

Defendants,




                                             ORDER GRANTING

                      PLAINTIFFS' MOTION TO SUBSTITUTE COUNSEL

        On    the   date   signed   below,   this   Court   considered    Plaintiffs',   JAMIE   MARROQUIN,



Individually and as Next Friend of Minor children, J.M.M and J.M., Motion for Substitution of



Counsel.



        IT IS ORDERED THAT Cesar Andres Montalvois hereby granted leave to withdraw as



attorney of record for Plaintiffs JAMIE MARROQUIN, Individually and as Next Friend of Minor



children, J.M.M and J.M ..




        IT IS FURTHER ORDERED that the following attorneys be substituted as attorney of



record for Plaintiffs, JAMIE MARROQUIN, Individually and as Next Friend of Minor children,



J.M.M and J.M.



Francisco R. Canseco

State Bar No. 03759600

1 9 Jackson Court

San Antonio, TX 78230

(210) 901.4279

frcanseco@gmail.com

                           0€1   1 4 2021


        Signed on: October__, 2021




                                                      JUDGE PRESIDING

                                                                   Mary Lou Avar
                                                                      Pre~dig   u,
                                                                  45th District Court

                                                              Bexar County, Texas
         Case 5:21-cv-01041-JKP Document 1-1 Filed 10/26/21 Page 64 of 81




APPROVED AS TO FORM:                  /4/0

                   f ¢al
Cesar A. Montalvo

Email: information@camlaw.legal

1 1 7 5 W. Bitters Rd.

Ste. 1 1 0 6

San Antonio, TX 78216

Tel. ( 2 1 0 ) 296-5605

Fax. (210) 941-0777



ATTORNEY WITHDRAWING

FOR Plaintiffs,     JAMIE MARROQUIN,   Individually   and   as Next Friend of Minor   children,

J.M.M and J.M.




F         o    . Canseco

State Bar No. 03759600

1 9 Jackson Court

San Antonio, TX 78230

210.901.4279

frcanseco@gmail.com

ATTORNEYS SUBSTITUTING

FOR JAMIE MARROQUIN,         Individually and as Next Friend of Minor children,   J.M.M and
J.M                                        _
Case 5:21-cv-01041-JKP Document 1-1 Filed 10/26/21 Page 65 of 81




                 EXHIBIT 8
      Case 5:21-cv-01041-JKP Document 1-1 Filed 10/26/21 Page 66 of 81




                                          Cause NO. 2021-C1-21250



JAMIE MARROQUIN, Individually and as

Next Friend of Minor children, J,M.M                    IN THE DISTRICT COURT

and J.M.

Plaintiffs,



V.                                                       285th JUDICIAL DISTRICT




NORTHSIDE INDEPENDENT

SCHOOL DISTRICT, ET AL.,                                 BEXAR COUNTY, TEXAS

Defendants,




                             TEMPORARY RESTRAINING ORDER



          On                     _, 2021 the Application for a Temporary Restraining Order of JAMIE


MARROQUIN, Individually and as Next Friend of Minor children, J. M . M and J.M.


Plaintiff herein, are heard before this court.


          Based upon the pleadings, records, documents filed by counsel, and the arguments of


counsel at the hearing, IT CLEARLY APPEARS:


          That unless NORTHSIDE INDEPENDENT SCHOOL DJSTRJCT, its Superintendents,


Defendants, its officers, agents, servants, employees, teachers, successors and assigns, and


attorneys, are immediately restrained from:


     I.   denying the Plaintiff access to the Defendant's school properties and grounds where her


          children are attending either for educational, extra-curricular, athletic or social purposes,


          or from restricting her access to any meetings of the school board or any of its


          committees for any reason or from speaking there at in a peaceable manner to address the


          Defendant's official bodies, agents, school principals, teachers school officers and


          official in Plaintiffs capacity as a parent, taxpayer and constituent of the Defendant,


     2.   from taking any actions to enforce the mask policy, or any iteration thereof against


          Plaintiffs, including but not limited to, permitting Plaintiffs access to school without a


          mask.
           Case 5:21-cv-01041-JKP Document 1-1 Filed 10/26/21 Page 67 of 81




      3.    Plaintiffs will suffer irreparable harm if the Defendants are not restrained immediately


            and there is no adequate remedy at law to grant Plaintiffs complete, final and equal relief.


            IT IS THEREFORE ORDERED, ADJUDGED AND DECREED NORTHSIDE


INDEPENDENT SCHOOL DISTRICT, Defendant herein, its officers agents and assigns, and all


of Defendants' officers, agents, servants, employees, successors and assigns, and attorneys are


ORDERED to immediately cease and desist from:




            I.     denying the Plaintiff access to the Defendant's School Grounds where her children


                  are attending                    i
                                                  e th er    r
                                                            fo    educational, extra-curricular, athletic or social                    p urposes, or


                  fr  om restricting her access to any                                 m eetings of the school       b oard or any of its


                  committees                  fo   r any    re   ason or          om speaking there at in a
                                                                                 fr                                  p   eaceable manner to address


                  the      Defendant's official                    bodies,            agents,   school principals, teachers        school officers       and




                  official       in       P l a i n t i ff s capacity            as a parent, taxpayer and constituent of the              Defendant,




                  fr  om     the     date of           e ntry    of   this   o    rder until    fourteen    ( 1 4 ) days   thereafter, or until      her
                                                                                                                                                  furt




                  order      of      this Court.




            2.     fr  om taking any actions to                         e nforce         the mask policy, or any iteration thereof against


                      l
                   P ai    ntiffs,        i   ncluding      b    ut not     li   mited to, permitting Plaintiffs access to school without                  a




                   mask, from                 the date of entry of this order u n t i l                fo  urteen ( 1 4 )   d ays thereafter, or u n til


                   further order of th is Court.




            IT IS THEREFORE ORDERED, ADJUDGED AND DECREED that Plaintifrs


Application for Temporary Injunction be heard on 28 of October 202I at                                                            9:00        A.M in


the              PRESIDING COURT, RM I.09                                             Defendants, Northside Independent School District


and it Superintendent                         ar  e    commanded to appear at that time and show cause, if any exist, why a


Temporary Restraining Order should not be issued against said Defendants.




             The      c   lerk   f the above-entitled court shall issue a Temporary Restraining Order in
                                 o




conformity with the                   aw and the terms of this order upon the filing by Plaintiff of the bond
                                      l




 hereinafter set.




                                                                                                                                                               2
     Case 5:21-cv-01041-JKP Document 1-1 Filed 10/26/21 Page 68 of 81




         This order shall not be effective until Plaintiff deposits with the Clerk, a bond in the


amount of$                  in conformity with the law.                      ,? •{lo
         sioNED »a ENTERED on            n2 a
                                         14
                                         0CI                                 .   %     ,




                                               1l a_ ­
                                                 PRESIDING J     U   D   G   E   D




                                                             Mary Lou Alvarez
F   nc    o.   .Canseco
                                                              Presiding Judge
Attorn   y for Plaintiffs
                                                             45th District Court
State Bar No. 03759600
                                                            Bexar County, Texas
frcanscco@gmail.com

I 9 Jackson Court

San Antonio, Texas 78230

210.901.4279




                                                                                                    3
Case 5:21-cv-01041-JKP Document 1-1 Filed 10/26/21 Page 69 of 81




                 EXHIBIT 9
           Case 5:21-cv-01041-JKP Document 1-1 Filed 10/26/21 Page 70 of 81


g ~   A K'                     JUDGE'S_NOTES                         Page

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            Al future Judge s notations must be done on this form.

               [y   tole   lo   r   o   y 5    lg }                    yo ]   Dyslc   Et
  DATE OF                                                                     JUDGE
                                              NOTE
  NOTE/S                                                                 INITIALS




                           c




                                                           10-2&-




                                                      -
Case 5:21-cv-01041-JKP Document 1-1 Filed 10/26/21 Page 71 of 81




               EXHIBIT 1 0
        Case 5:21-cv-01041-JKP Document 1-1 Filed 10/26/21 Page 72 of 81




                                        Cause N0. 2021-CI-21250



JAMIE MARROQUIN, Individually and as

Next Friend of Minor children, J.M.M                      IN THE DISTRJCT COURT

and J.M.

Plaintiffs,



V.                                                        285th JUDICIAL DISTRICT




NORTHSIDE INDEPENDENT

SCHOOL DISTRICT, ET AL.,                                  BEXAR COUNTY, TEXAS

Defendants,




                           TEMPORARY RESTRAINING ORDER



        o.    @gt::,/hon ae sot«ason tr                        Te»or»     Resraiiwe o«er6rant            S_
MARROQUIN, Individually and as Next Friend of Minor children, J.M.M and J.M.


Plaintiff herein, was heard before this court.


        Based upon the pleadings, records, documents filed by counsel, and the arguments of              a
counsel at the hearing, The court DENIES Plaintiff's request for a Temporary Restraining ore.            TN.

        IT IS THEREFORE ORDERED, ADJUDGED AND DECREED that Plaintiffs'                               -.
                                       64a.3'                                                            "a
Application for Temporary Injunctiorf"be heard on 28" of October 2021 at          9:00      A.M in


• freslt Gad .,2+RC.I!{Mt.Z15.@11.%s.. oner%a                                                            7
                                 Se € ,                     RM I 0 9 ,

it Superintendent are commanded t~ ~pear a       ti'at   time and show cause, if any exist, why a


Temporary Injunction should not be issued against said Defendants.


        The clerk of the above-entitled court shall issue Orders in conformity with the law and


the terms of this order.


        SIGNED and ENTERED on         at
                                                 or       1 5 2a             2.307
                                                                             ,
                                                                                       0
                                                                                       fM.




                                                   Mary Lou Alvarez

                                                    Presiding Judge

                                                  45th District Court

                                                 Bexar County, Texas




                                                                                                     1
          Case 5:21-cv-01041-JKP Document 1-1 Filed 10/26/21 Page 73 of 81




      ·   o   R. Canseco

Attorney for Plaintiffs

State Bar No. 03759600

frcanseco@gmail.com

19 Jackson Court

San Antonio, Texas 78230

210.901.4279




                                                                             2
          Case 5:21-cv-01041-JKP Document 1-1 Filed 10/26/21 Page 74 of 81




                                            Cause N0. 2021-CI-21250

JAMIE MARROQUIN, Individually and as

Next Friend of Minor children, J.M.M                     IN THE DISTRICT COURT

and J.M.

Plaintiffs,



V.                                                       285th JUDICIAL DISTRICT




NORTHSIDE INDEPENDENT

SCHOOL DISTRICT, ET AL,                                  BEXAR COUNTY, TEXA

Defendants,

s



 NOTICE OF HEARING IN COMPLIANCE WITH COVID-19 COURT OPERATIONS

                                                  PLAN



Notice of Setting Petitioner's Motion for Temporary Injuction is set for hearing on October 28,

2021, at 9:00 am in the Bexar County Civil District Presiding Court, 100 Dolorosa, San Antonio,

Texas, 78205.



You do not need to go to the Courthouse. The hearing will be conducted remotely on Zoom.

You may participate in the hearing using a telephone call-in number or by logging on to Zoom.



YOU MUST ATTEND THE PRESIDING COURT DOCKET CALL BY ZOOM AT THE

TIME INDICATED ABOVE.



The link to the Presiding Court Zoom is https://zoom.us/my/bexarpresidingcourtzoom. The

Presiding Court Zoom meeting ID is 917-895-6796. If you are unable to log on you can call the

Zoom telephone access number for Presiding Court at 1 (346) 248-7799. You will need to input

the Presiding Court Zoom access code: 917-895-6796.



     1.   The time announcement: 30 minutes.

     2.   Telephone numbers for all attorneys or self-represented litigants: John Smith (210) 234­

          5678 Jane Anderson (210) 345-6789.



          NOTE: You must include information for all parties, not just yourself. Including

          information           •



          for all participants is very helpful.



     3.   Email addresses for all attorneys and self-represented litigants: jsmith@email.com

          janderson@email.com
     Case 5:21-cv-01041-JKP Document 1-1 Filed 10/26/21 Page 75 of 81




     NOTE: You must include information for all parties, notjust yourself. Including

     information



     for all participants is very helpful.



4.   Whether the party is ready or not: Plaintiffs are ready.

5.   Whether an interpreter is required: No interpreter needed.



     NOTE: For languages other than Spanish interpretation, please make arrangements with

     court administration a minimum offive (5) business days in advance of the hearing at

     (210) 335-2300.



6.   The number of witnesses to be called: Five witnesses.

7.   The total number of participants in the call: Seven persons will participate in the hearing.

8.   Whether a record is required: A record is required.




                                                           /bl_

                                                           Francisco R. Canseco

                                                           Attorney for Plaintiffs

                                                           State Bar No. 03759600

                                                           frcanseco@gmail.com

                                                           19 Jackson Court

                                                           San Antonio, Texas 78230

                                                           210.901.4279
Case 5:21-cv-01041-JKP Document 1-1 Filed 10/26/21 Page 76 of 81




               EXHIBIT 1 1
                          Case 5:21-cv-01041-JKP Document 1-1 Filed 10/26/21 Page 77 of 81
FILED

10/18/2021   2.20 PM

Mary Angie Garcia
                                                                                                  Cause Number: 2 0 2 1 - C I - 2 1 2 56
Bexar County District Clerk

Accepted By: Brenda Carrillo

Bexar County - 285th District Court                                                               District Court :      285th
                                                                                                                        -------




                                                            Mary Angie Garcia

                                                    Bexar County District Clerk                                 c i t / note




                                                            Request for Process


  Style: Jamie Marroquin, lnd,and as NF                          Vs. Northside Independent School District.f




  Request the following process: (Please check all that Apply)


  • Citation )l] Notice [ vapor aestraining Order [_] Notice of Temporary Protective Order

  [Temporary Protective Order [ Precept with hearing [_Precept without a hearing [Writ of Attachment

  [Writ of Habeas Corpus [] Writ of Garnishment [Writ of Sequestration [_lCapias [_] Other: •



  I.

 Name: NORTHSIDE I N D E P E N D E N T SCHOOL DISTRICT

 Registered Agent/By Serving: Brian Woods, Its Superintendent

 Address 5 6 1 9 G ri s s o m_ R o a d , San Antonio, Bexar County, Texas,78238

  Service Type:        «ceeo» [Private Process       [sheriff [Publication   «ceex on [lconeretat Recorer      [nan   sea[carouse poor

              [certified Mat      [ Registered Mat [lout o
                                                         f County        []secretary o
                                                                                     f State   [commissioner o
                                                                                                             f Insurance

 2.

 Name:
             ------------------------------------------
  Registered Ageut/By Serving:                                                                                                       _

 Address                                                                                                                                _

  Service Type:        «ceeo[_Private Process        [Sheriff [Publication «cee on [_lconmereit Recorder [_nan seat [_]courthouse Door

              [_Certified Mat [] Registered Mat [lout o
                                                      f County          []secretary o
                                                                                    f State    [Commissioner o
                                                                                                             f Insurance

 3.

 Name:------------------------------------------
 Registered Agent/By Serving:                 _

  Address                                                                                                                               _

  Service Type:        «cesoo[_]Private Process      [sheriff [Publication «cee one    [_]comereiat Recorder   [_nan sear[_courthouse Door

              [certified Mait [ Registered Mat [ot o
                                                   f County             [secretary o
                                                                                   f State     [commissioner o
                                                                                                             f Insurance

 4.

 Name:------------------------------------------
 Registered Agent/By Serving:                 _

 Address                                                                                                                               _

  Service Type:        «ceeo[Private Process         [Sheriff [Publication «cee one [lcamereiat Recorder [an set []courthouse poor

              [certified Mai [ Registered Mat [lot o
                                                   f County             [secretary o
                                                                                   f State     [Commissioner o
                                                                                                             f Insurance




 Title of Document/Pleading to be Attached to Process:Plaintiffs's Amended Original Petition for Temporan

 Temporary and Permanent Injunction and Declaratory Judgment



  Name of Attorney/Prose: Francisco R. Canseco                             Bar Number: @@7598600

  Address: 1 9 Jackson Court, San Antonio,Ty 78230                         Phone Number: 210.901.4279X




                       Attorney for Plaintiff Defendant                                        Other                 _



         ****IF SERVICE IS NOT PICKED UP WITHIN 14 BUSINESS DAYS, SERVICE WILL BE DESTROYED****
          Case 5:21-cv-01041-JKP Document 1-1 Filed 10/26/21 Page 78 of 81


                          Automated Certificate of eService

This automated certificate of service was created by the efiling system.

The filer served this document via email generated by the efiling system

on the date and to the persons listed below. The rules governing

certificates of service have not changed. Filers must still provide a

certificate of service that complies with all applicable rules.



Francisco Canseco on behalf of Francisco Canseco

BarNo.3759600

frcanseco@gmail.com

Envelope I D : 58282935

Status as of 1 0 / 1 8 / 2 0 2 1 3:53 PM CST



Case Contacts




Name               BarNumber   Email                TimestampSubmitted            Status



Cesar A.Montalvo               cesar@camlaw.legal   10/18/2021 2 : 2 0 : 1 7 PM   SENT
Case 5:21-cv-01041-JKP Document 1-1 Filed 10/26/21 Page 79 of 81




               EXHIBIT 1 2
                            Case 5:21-cv-01041-JKP Document 1-1 Filed 10/26/21 Page 80 of 81


                                                                                                                                                                                       SHERIFF




                                                                               Case Number:         2021C121250



    Jamie Nicole Marroquin VS Northside Independent School District ET AL                                                                       IN THE 28STH DISTRICT COURT


    (Note: Attached Document May Contain Additional Litigants)                                                                                  BEXAR COUNTY, TEXAS


                                                                                                                CITATION




"THE STATE OF TEXAS"




    Directed To:            NORTHSIDE INDEPENDENT SCHOOL DISTRICT


                            BY SERVING ITS SUPERINTENDENT, DR BRIANT WOODS


                            5619 GRISSOM ROAD


                            SAN ANTONIO, TX 78238




"You    have     been      sued.   You   may employ an       attorney.         If you   or your attorney do        not file     a written      answer with the        clerk who    issued this


citation    by   10:00am       on   the   Monday     next following the             expiration    of twenty days      after you        were     served   this CITATION      and    PETITION     a


default judgment            may     be   taken   against you.      In   addition     to filing   a written    answer with        the   clerk,   you   may   be   required    to   make     initial


disclosures to the other parties of this suit. These disclosures generally must be made no later than 30 days after you file your answer with


the clerk.     Find out more at TexaslawHelp.org" Said ORIGINAL PETITION FOR DECLARATORY JUDGMENT,                                                    APPLICATION FOR TEMPORARY


RESTRAINING           ORDER, AND          APPLICATION        FOR TEMPORARY AND                   PERMAMANT INJUNCTION                   was filed     on   this the 6th     day of October,


2021.




ISSUED UNDER MY HAND AND SEAL OF SAID COURT on this the 18th day of October, 2021.




    FRANCISCO R CANSECO                                                                                                                    Mary Angie Garcia


    ATTORNEY FOR PLAINTIFF                                                                                                                 Bexar County District Clerk


    19 JACKSON COURT                                                                                                                         101 W. Nueva, Suite 217


    SAN ANTONIO TX            78230

                                                                                                                                           San Antonio, Texas 78205

                                                                                                                                             By:/s/_Leticia Leija

                                                                                                                                             Leticia Leija, Deputy




    JAMIE NICOLE MARROQUIN VS NORTHSIDE INDEPENDENT SCHOOL DISTRICT ET Al                                                              Case Number: 2021Cl21250

                                                                                                                                       285th District Court


                                                                                        Officer's Return



I received this CITATION on the                          day of _ , 2 0 a t _ o' c l o c k _M. and (                                            ) executed it by delivering a copy of the

CITATION       with     attached     ORIGINAL      PETITION     FOR          DECLARATORY     JUDGMENT,          APPLICATION            FOR    TEMPORARY       RESTRAINING         ORDER,    AND

APPLICATION           FOR      TEMPORARY           AND      PERMAMANT               INJUNCTION         the    date    of        delivery      endorsed      on   it    to   the     defendant

                                                    in    person        on    the                day   of                          20_at                              o'clock            M.     at

_____________ or(                                          ) not executed because                                                                                           _


Fees: _Badge/PPS#t:                                                                       Date certification expires: _

                                                                                                                                                                                       County,


Texas

                                                                                                                     BY:




OR: VERIFICATION Of RETURN (If not served by a peace officer) SWORN TO THIS                                                                                                           _




                                                                                                                                    NOTARY PUBLIC, STATE OF TEXAS




QR     AM   nathe     IS   _ m y                                                                       date   of   birth   is   , a n                                                          n
address is                                                                                                      County.




I   declare under penalty of perjury that the foregoing is true and correct.                        Executed in                                                                   County, State

of Texas, on the                            dayof _ A D ,




                                                                                                                                                                                    Declarant
                         Case 5:21-cv-01041-JKP Document 1-1 Filed 10/26/21 Page 81 of 81




                                                                                                                              SHERIFF




                                                                                Case Number: 20210121250




 Jamie Nicole Marroquin VS Northside Independent School District ET AL                                                  IN THE 285th District Court

                                                                                                                        BEXAR COUNTY, TEXAS




 (Note: Attached Document May Contain Additional Litigants.)



                                                                                            Notice




 "THE ST ATE OF TEXAS"



 Directed To:        NORTHSIDE INDEPENDENT SCHOOL DISTRICT


                     BY SERVING ITS SUPERINTENDENT, DR BRIANT WOODS


                     5619 GRISSOM ROAD       SAN ANTONIO, TX 78238




YOU ARE HEREBY NOTIFIED TO APPEAR before the PRESIDING Judicial Court, in and for Bexar County, Texas, at the Courthouse in San Antonio, Texas, on the 28th day


of October, 2021 at 9:00 AM in Room 1.09, then and there to answer to said TEMPORARY RESTRAINING ORDER.




This Notice may be served by any Peace Officer of the State of Texas.               Said officer shall herein fail not, but make due return hereof as the law requires.




WITNESS,   MARY ANGIE GARCIA, CLERK OF THE DISTRICT COURTS OF BEXAR COUNTY, TEXAS, ISSUED AND GIVEN                                  UNDER MY HAND AND SEAL OF SAID COURT AT


OFFICE IN THE CITY OF SAN ANTONIO, TEXAS THIS 10/18/2021.




                                                                                                             Mary Angie Garcia

 FRANCISCO R CANSECO                                                                                         Bexar County District Clerk

 ATTORNEY FOR PETITIONER                                                                                     101 Nueva, Suite 217

 19 JACKSON COURT                                                                                            San Antonio, Texas 78205

 SAN ANTONIO TX     78230




                                                                                                               By:   Leticia Leija

                                                                                                                             Leticia Leija, Deputy




Jamie Nicole Marroquin VS Northside Independent School District ET AL                          Officer's Return                    Case Number: 2021C121250

                                                                                                                                   Court: 285th District Court




I received this NOTICE on the         day of                    Z0                  at_o'clock          M.    and (   )executed it by delivering a copy of the NOTICE with attached


TEMPORARY RESTRAINING ORDER on the date of delivery endorsed and to




                                                    inperson onthe _day of , 2 O _ _ o ' c l o c k                                                     M. at


                                        0 f l ) n o t e 6 f it t e d [ o f t4 s t




Fees: _Badge/ps #t: _Date certification expires;




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                                                                                            BY:                                                           _


OR: VERIFICATION OF RETURN (If not served by a peace officer) SWORN TO 1HIS _




                                                                                                        NOTARY PUBLIC, STATE OF TEXAS




ORR; Mname is , m y d a t e o t b i r t h i s                                                                                                         an my address l

_________________________ County,




 declare under penalty of perjury that the foregoing is true and correct.              Executed in                                                    County, State of Texas, on the


                day of                              , A D . , _'




                                                                                            Declarant
